     Case 8:18-cv-00415-DOC-JCG Document 3 Filed 03/15/18 Page 1 of 90 Page ID #:9



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10   TSYS BUSINESS SOLUTIONS, LLC, f/k/a
     TRANSFIRST, LLC; and TOTAL SYSTEM
11   SERVICES, INC.
12

13                                UNITED STATES DISTRICT COURT
14                              CENTRAL DISTRICT OF CALIFORNIA
15

16   ADAM GARDINER and, ALDWIN                       Case No. 8:18-cv-415
     MARQUIS, as individuals and on behalf of
17   all others similarly situated,                  DECLARATION OF JOHN
                                                     GIOVANNONE IN SUPPORT OF
18                      Plaintiffs,                  DEFENDANTS’ REMOVAL
19            v.                                     {Concurrently filed with Notice of
                                                     Removal, Corporate Disclosures,
20   TSYS BUSINESS SOLUTIONS, LLC,                   Certificate ofInterested Parties, Civil
     f/k/a TRANSFIRST, LLC, a Delaware               Case Cover Sheet, and Notice ofRelated
21   limited liability company; TOTAL                Cases]
     SYSTEM SERVICES, INC., a Georgia
22   corporation; and DOES 1 through 100,            Removed from California Superior Court,
                                                     County of Orange, before Hon. Randall J.
23                      Defendants.                  Sherman, Dept. C24, Case No. 30-2017-
                                                     00942890-CU-OE-CXC
24
                                                     Complaint Filed: September 8, 2017
25
                                                     FAC Filed:       November 27, 2017
26

27                                                   SAC Filed:       March 6, 2018

28


                   DECLARATION OF JOHN GIOVANNONE IN SUPPORT OF DEFENDANTS’ REMOVAL
     44805357v.l
     Case 8:18-cv-00415-DOC-JCG Document 3 Filed 03/15/18 Page 2 of 90 Page ID #:10


 1              I, John Giovannone, declare as follows:
 2                  1.      am an attorney duly licensed to practice before this Court and all other
 3    courts in California. I am a partner with the law firm of Seyfarth Shaw LLP, counsel of
 4    record for Defendants TSYS Merchant Solutions, LLC, f/k/a TSYS Business Solutions,
 5    LLC, f/k/a Transfirst, LLC; and Total System Services, Inc. (“TSYS”). I have personal
 6    knowledge of the facts set forth in this declaration and would and could competently
 7    testify thereto if called upon to do so.
 8              2.          I make this declaration in support of TSYS’s removal.
 9              3.          On February 26, 2018,1 agreed to a joint stipulation whereby Plaintiffs
10    could seek leave to file a Second Amended Complaint.
11              4.          On February 26, 2018,1 reviewed a draft of the Second Amended
12   Complaint.
13              5.          On March 5, 2018 Plaintiffs’ filed the joint stipulation seeking leave to file
14   the Second Amended Complaint. Plaintiffs attached the Second Amended Complaint to
15   the Stipulation. On March 6, 2018 Plaintiffs filed the Second Amended Complaint.
16   Attached hereto as Exhibit A is a true and correct copy of the Stipulation and Second
17   Amended Complaint that were filed with the court.
18              6.         Attached hereto as Exhibit B are all other process “process, pleadings, [or]
19   orders” in this case.
20                  I declare under penalty of peijury under the laws of the United States of America
21   and the State of California that the foregoing is true and correct.
22             Executed on May 15, 2018, at Los Angeles, California.
23

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                                                                        I
26                                                                      \   'VVlv           ( Wm
                                                                 John        ovannone         t '
27

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                         DECLARATION OF JOHN GIOVANNONE IN SUPPORT OF DEFENDANTS’ REMOVAL
     44805357v. 1
Case 8:18-cv-00415-DOC-JCG Document 3 Filed 03/15/18 Page 3 of 90 Page ID #:11




                           EXHIBIT A




                                                                      Exhibit A
                                                                      Page 3
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                                                                               County of Orange
                                                                           03JU5J201S at B6:2S:QB PM
                                                                            Clerk of the Superior Court
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           Adam Gardiner, Aldwin Marquis, and Joseph Greco
 8
           (Additional Counsel Listed on Next Page)
 9
10
                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
11

12                                     FOR THE COUNTY OF ORANGE

13
          ADAM GARDINER and ALDWIN MARQUIS,              Case No. 30-2017-00942890-CU-OE-CXC
14        as individuals and on behalf of all others
          similarly situated,                            Assigned to the Honorable Randall J.
15                                                       Sherman, Dept. CX-105
                                   Plaintiff,
16
                                                             STIPULATION AND ORDER
17                       vs.                                 GRANTING LEAVE TO FILE A
                                                             SECOND AMENDED COMPLAINT
          TSYS BUSINESS SOLUTIONS, LLC, Fk/a
18        TRANSFIRST, LLC, a Delaware limited
19        liability company; TOTAL SYSTEM
          SERVICES, INC., a Georgia corporation; and         Complaint Filed: September 8, 2017
20        DOES 1 through 100,                                FAC Filed:       November 27, 2017
21                                Defendants.

22

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                  STIPULATION AND ORDER FOR LEAVE TO FILE A SECOND AMENDED COMPLAINT
                                                                                                     Exhibit A
                                                                                                     Page 4
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          TSYS BUSINESS SOLUTIONS, LLC, Tk/a TRANSFIRST, LLC; and TOTAL SYSTEM
10        SERVICES, INC.
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                 STIPULATION AND ORDER FOR LEAVE TO FILE A SECOND AMENDED COMPLAINT
                                                                                      Exhibit A
                                                                                      Page 5
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 1
              Plaintiffs Adam Gardiner, Aldwin Marquis, and Joseph Greco (“Plaintiffs”) and
 2
      Defendants TSYS Business Solutions, LLC f/k/a Transfirst, LLC and Total System Services, Inc.
 3
      (“Defendants”) (collectively, “the Parties”), by and through their undersigned counsel, hereby
 4
      stipulate as follows:
 5
              WHEREAS, on September 8, 2017, Plaintiffs Gardiner and Marquis filed their original
 6
      putative class action complaint in the Superior Court of the State of California, Orange County,
 7
      Case No. 30-2017-00942890-CU-OE-CXC;
 8
              WHEREAS, on November 27, 2017, Plaintiffs filed a First Amended Complaint in this
 9
      Court, adding a cause of action for civil penalties under Labor Code Private Attorneys General
10
      Act, Labor Code § 2698 et seq. and adding Plaintiff Greco as a named plaintiff;
11
              WHEREAS, Plaintiffs seek to add a cause of action for unpaid overtime wages on behalf
12
      of themselves and certain other current or former non-exempt employees in California under the
13
      Fair Labor Standards Act, 29 U.S.C. § 201 et seq. (“FLSA”);
14
             WHEREAS, the Parties have met and conferred regarding the addition of a cause of
15
      action for unpaid overtime wages under the FLSA;
16
             WHEREAS, the Parties have agreed to enter into this stipulation to allow Plaintiffs to file
17
      a Second Amended Complaint (attached hereto as Exhibit A) to add a cause of action for unpaid
18
      overtime wages under the FLSA;
19
             WHEREAS, the Parties have agreed that Plaintiffs’ proposed Second Amended
20
      Complaint shall be deemed filed and served on Defendants as of the date of the Court’s Order
21
      approving this Stipulation; and
22
             WHEREAS, Defendants retain the right to challenge the Second Amended Complaint by
23
      demurrer and/or Motion to Strike, or by other means in accordance with the Code of Civil
24
      Procedure and Rules of Court. Defendants’ responsive pleading shall be due 30 days from the
25
      date this Stipulation is granted by this Court. Defendants do not admit the truth of any
26
      allegations contained in the Second Amended Complaint, or waive their rights to challenge the
27
      sufficiency of the pleadings in the Second Amended Complaint.
28

                                               3
              STIPULATION AND ORDER FOR LEAVE TO FILE A SECOND AMENDED COMPLAINT
                                                                                                  Exhibit A
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 1    Ill
 2           NOW, THEREFORE, the Parties hereby jointly stipulate as follows:
 3            1.     That Plaintiffs be granted leave to file a Second Amended Complaint adding a
 4    cause of action for unpaid overtime wages under the FLSA;
 5           2.      That Plaintiffs’ proposed Second Amended Complaint, attached hereto as
 6    Exhibit A, be deemed filed and served on Defendants as of the date of the Court’s Order
 7    approving this Stipulation;
 8           3.      That Defendants’ responsive pleadings shall be due 30 days from the date this
 9    Stipulation is granted by this Court.
10           4.      The Parties agree that by entering into this stipulation, Defendants do not admit
11    the truth of any allegations contained in the Second Amended Complaint, or wave their rights to
12    challenge the sufficiency of the pleadings in the Second Amended Complaint, and that
13    Defendants retain the right to challenge the Second Amended Complaint by demurrer and/or
14    Motion to Strike, or by other means in accordance with the Code of Civil Procedure and Rules
15    of Court.
16

17
      Dated: February 26, 2018                      HAINES LAW GROUP, APC
18

19
                                              By:   s/ Paul K. Haines
20                                                  Paul K. Haines
                                                    Tuvia Korobkin
21                                                  Attorneys for Plaintiffs
22

23
      Dated: February 26, 2018                      SEYFARTH SHAW LLP
24

25
                                              By:   s/ John Giovannone
26                                                  John Giovannone
                                                    Jinouth D. Vasquez Santos
27                                                  Attorneys for Defendants
28

                                               4
              STIPULATION AND ORDER FOR LEAVE TO FILE A SECOND AMENDED COMPLAINT
                                                                                                 Exhibit A
                                                                                                 Page 7
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            STIPULATION AND ORDER FOR LEAVE TO FILE A SECOND AMENDED COMPLAINT
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                                                                                 Page 8
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 1                                                  ORDER
 2           Good cause appearing, IT IS HEREBY ORDERED that Plaintiffs’ Second Amended
 3    Complaint attached to the foregoing Stipulation MUST BE FILED AS A SEPARATE
 4    DOCUMENT within 10 days from the date of this order, and that Defendants shall have 30 days
 5    from the date of this order to file a responsive pleading.
 6           IT IS SO ORDERED.
 7

 8    Date Judge Signed: March 5, 2018

 9
                                                     Hon. Randall J. Sherman
10                                                   Judge of the Superior Court
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                                                     6
                                                   ORDER
                                                                                            Exhibit A
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                           EXHIBIT A



                                                                      Exhibit A
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 7     Attorneys for Plaintiffs
       ADAM GARDINER, ALDWIN MARQUIS,
 8     and JOSEPH GRECO
 9
                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
10
                                             COUNTY OF ORANGE
11
12
       ADAM GARDINER and, ALDWIN MARQUIS, Case No. 30-2017-00942890-CU-OE-CXC
13     as individuals and on behalf of all others similarly
       situated,                                            SECOND AMENDED CLASS,
14                                                          COLLECTIVE. AND
                                                            REPRESENTATIVE ACTION
                                                            COMPLAINT:
15                              Plaintiffs,
                                                            (1) FAIR LABOR STANDARDS
16             vs.                                              ACT, (29 U.S.C. § 201 etseq.y,
17                                                   (2)              OVERTIME WAGE
       TSYS BUSINESS SOLUTIONS, LLC, Ek/a                             VIOLATIONS (LABOR CODE
18     TRANSFIRST, LLC, a Delaware limited liability                  §§ 204,226.2, 510, 558,1194,
       company; TOTAL SYSTEM SERVICES, INC., a                        1198);
19     Georgia corporation; and DOES 1 through 100,  (3)              MINIMUM WAGE
20                                                                    VIOLATIONS (LABOR CODE
                                                                      §§ 226.2,1182.12,1194,1194.2,
                                Defendants.                           1197);
21
22                                                              (4) REST PERIOD VIOLATIONS
                                                                    (LABOR CODE §§ 226.7, 516,
                                                                    558);
23
                                                                (5) WAGE STATEMENT
24                                                                  VIOLATIONS (LABOR CODE
                                                                    § 226 et seq., 226.2);
25
                                                                (6) WAITING TIME PENALTIES
26                                                                  (LABOR CODE §§ 201-203);
27                                                              (7) UNFAIR COMPETITION
                                                                    (BUS & PROF CODE § 17200
28                                                                  etseq.); and

                                                          l
                        Second Amended Class, Collective, and Representative Action Complaint
                                                                                                      Exhibit A
                                                                                                      Page 11
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 1                                                                 (8) CIVIL PENALTIES UNDER
                                                                       THE PRIVATE ATTORNEYS
 2                                                                     GENERAL ACT (LABOR
                                                                       CODE § 2698 etseq.).
 3
                                                                  DEMAND FOR JURY TRIAL
 4                                                                UNLIMITED CIVIL CASE

 5            Plaintiffs Adam Gardiner, Aldwin Marquis, and Joseph Greco (collectively “Plaintiffs”),

 6     on behalf of themselves and all others similarly situated, hereby bring this Second Amended

 7     Class and Representative Action Complaint against Defendants TSYS Business Solutions, LLC,

 8     formerly known as TransFirst, LLC, a Delaware limited liability company; Total System

 9     Services, Inc., a Georgia corporation; and DOES 1 to 100 (collectively “Defendants”), inclusive,

10     and on information and belief alleges as follows:

11                                                  JURISDICTION

12             1.     Plaintiffs, on behalf of themselves and all others similarly situated, hereby bring

13     this class, collective, and representative action for recovery of unpaid wages and penalties under

14     the Fair Labor Standards Act (“FLSA”); California Labor Code §§ 201-204, 226, 226.2, 226.7,

15     510, 516, 558, 1182.12, 1194, 1194.2, 1197, 1198, and 2698 et seq.; California Business &

16     Professions Code §17200 et. seq. and Industrial Welfare Commission Wage Order No. 4

17     (“Wage Order 4”), in addition to seeking declaratory relief and restitution. This class action is

18     brought pursuant to California Code of Civil Procedure 382. This Court has jurisdiction over

19     Defendants’ violations of the California Labor Code because the amount in controversy exceeds

20     this Court's jurisdictional minimum.

21                                                        VENUE

22            2.      Venue as to each Defendant is proper in this judicial district pursuant to

23     California Code of Civil Procedure §§ 395(a) and 395.5, as at least some of the acts and

24     omissions complained of herein occurred in the County of Orange. Further, at all times relevant

25     herein Plaintiffs were (or are) employed by Defendants within the County of Orange.

26     //

27     //

28     //


                                                            2
                          Second Amended Class, Collective, and Representative Action Complaint
                                                                                                     Exhibit A
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 1                                                       PARTIES
 2             3.      Plaintiffs are individuals over the age of eighteen (18). At all relevant times
 3     herein, Plaintiffs were, and currently are, California residents. During the four years
 4     immediately preceding the filing of the Complaint in this action and within the statute of
 5     limitations periods applicable to each cause of action pled herein, Plaintiffs were employed by
 6     Defendants as non-exempt employees. Plaintiffs were, and are, victims of Defendants’ policies
 7     and/or practices complained of herein, lost money and/or property, and have been deprived of
 8     the rights guaranteed to them by California Labor Code §§ 201-203, 226, 226.2, 226.7, 510,
 9     516,558, 1182.12, 1194, 1194.2, 1197, 1198, California Business & Professions Code § 17200
10     et seq. (“Unfair Competition Law”), and Wage Order 4, which sets employment standards for
11     “professional, technical, clerical, mechanical and similar occupations,” including salespersons.
12            4.      Plaintiffs are informed and believe, and based thereon allege, that during the four
13     years preceding the filing of the Complaint and continuing to the present, Defendants did (and
14     do) business by operating a company that provides credit card processing, debit card processing,
15     and other payment processing services for retailers and merchants within the County of Orange,
16     and employed Plaintiffs and other, similarly-situated hourly non-exempt employees within the
17     County of Orange and, therefore, were (and are) doing business in the County of Orange and the
18     State of California.
19            5.      Founded in 1995, Defendant TSYS Business Solutions, LLC, formerly known as
20     TransFirst, LLC (“TransFirst”), is one of the largest providers of secure payment processing in
21     the United States, serving more than 235,000 merchants, financial institutions, and sales partners
22     and employing over 1,000 employees nationwide. TransFirst maintains a facility in Cypress,
23     California, as well as other offices nationwide. In or around 2016, Defendant Total System
24     Services, Inc. (“TSYS”) acquired TransFirst.
25            6.      Plaintiffs are informed and believe, and thereon allege, that at all times mentioned
26     herein, Defendants were licensed to do business in California and the County of Orange, and
27     were the employers of Plaintiffs and the Classes (as defined in Paragraph 17).
28

                                                            3
                          Second Amended Class, Collective, and Representative Action Complaint
                                                                                                         Exhibit A
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 1             7.     Plaintiffs do not know the true names, capacities, relationships and/or the extent
 2     of participation of Defendants DOES 1 through 100, inclusive, in the conduct alleged in this
 3     Complaint. For that reason, Defendants DOES 1 through 100, inclusive, are sued under such
 4     fictitious names. Plaintiffs pray for leave to amend this Complaint when the true names and
 5     capacities are known. Plaintiffs are informed and believe, and based thereon allege, that each
 6     fictitiously named defendant is and was responsible in some way for the alleged wage and hour
 7     violations and other wrongful conduct which subjected Plaintiffs and the Classes, as defined
 8     below, to the illegal employment practices, wrongs and injuries complained of herein. All
 9     references in this Complaint to “Defendants” shall be deemed to include all DOE Defendants.
10            8.      At all times herein mentioned, each of said Defendants participated in the doing
11     of the acts hereinafter alleged to have been done by the named Defendants; and furthermore, the
12     Defendants, and each of them, were the agents, servants, and employees of each and every one
13     of the other Defendants, as well as the agents of all Defendants, and at all times herein
14     mentioned were acting within the course and scope of said agency and employment.
15     Defendants, and each of them, approved of, condoned, and/or otherwise ratified each and every
16     one of the acts or omissions complained of herein.
17            9.      At all times mentioned herein, Defendants, and each of them, were members of
18     and engaged in a joint venture, partnership, and common enterprise, and acting within the
19     course and scope of and in pursuance of said joint venture, partnership, and common enterprise.
20     Further, Plaintiffs allege that all Defendants were joint employers for all purposes of Plaintiffs
21     and all members ofthe Classes (as defined in Paragraph 17).
22                                 GENERAL FACTUAL ALLEGATIONS
23            10.     Plaintiff Aldwin Marquis has been employed by Defendants since approximately
24     June 2012 as a non-exempt Account executive at Defendants’ facility in Cypress, California, and
25     is still currently employed by Defendants.
26     //

27     //

28     //

                                                           4
                         Second Amended Class, Collective, and Representative Action Complaint
                                                                                                    Exhibit A
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 1             11.     Plaintiff Adam Gardiner was employed by Defendants during the putative class
 2     period as a non-exempt sales representative at Defendants’ Cypress, California facility, and his
 3     employment with Defendants ended in approximately January 2015.
 4             12.     Plaintiff Joseph Greco was employed by Defendants during the putative class
 5     period as a non-exempt sales representative at Defendants’ Cypress, California facility.
 6             13.     During Plaintiffs’ employment with Defendants, Plaintiffs were paid on a
 7     commission basis, whereby Plaintiffs were paid commissions based on services and/or
 8     equipment that Plaintiffs sold to Defendants’ customers. However, Plaintiffs were not separately
 9     compensated for time spent working on tasks which did not generate commissions, including for
10     example, time spent attending meetings, and working on other accounts for which they were not
11     earning commissions, (i.e., non-productive time), thereby resulting in Plaintiffs not being paid at
12     least the minimum wage for all hours worked. In addition, on those occasions where Plaintiffs
13     worked over eight hours in a workday and/or over 40 hours in a workweek, Defendants’ failure
14     to compensate Plaintiffs separately for all non-productive time resulted in Plaintiffs not being
15     paid all overtime compensation owed.
16             14.    Plaintiffs worked shifts in excess of 3.5 hours, and were never provided with a
17     paid rest period for every 4 hour period worked, or major fraction thereof, because Defendants’
18     commission-based compensation plan(s) that do not separately compensate for every hour
19     worked (e.g., recoverable draw based plans), failed to separately compensate Plaintiffs for
20     required rest periods. See Bluford v. Safeway Inc., 216 Cal. App. 4th 864 (2013) (holding that
21     where employees are paid on an “activity-based compensation system,” employers must pay
22     employees separately for rest periods, and finding that “[t]here is no dispute that Safeway’s
23     activity-based compensation system did not separately compensate drivers for their rest
24     periods.”); Vaquero v. Stoneledge Furniture LLC, 9 Cal.App.5th 98, 110-11 (holding that the
25     requirement to pay separately for rest periods “applies equally to commissioned salespersons”).
26     As a result, Plaintiffs were not paid all minimum wages and/or overtime wages owed. In
27     addition, despite failing to authorize and permit Plaintiffs to take paid 10-minute rest periods,
28

                                                            5
                          Second Amended Class, Collective, and Representative Action Complaint
                                                                                                       Exhibit A
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 1     Defendants failed to pay Plaintiffs the premium wages they were owed under Labor Code §
 2     226.7.
 3              15.   In addition, Plaintiffs were often required to perform off-the-clock work,
 4     including but not limited to checking and responding to work-related e-mails after work hours,
 5     but they were not paid for this work time. Because Plaintiffs generally worked at least 8 hours in
 6     a workday and 40 hours in a workweek, this off-the-clock time frequently resulted in unpaid
 7     daily and/or weekly overtime.
 8              16.   As a result of Defendants’ failure to pay all minimum wages, overtime wages, and
 9     rest period premium wages, Defendants maintained inaccurate payroll records, issued inaccurate
10     wage statements, and did not pay Plaintiff Gardiner and other former non-exempt employees all
11     wages owed at the time of their separation from employment with Defendants.
12                       CLASS AND COLLECTIVE ACTION ALLEGATIONS
13              17.   Class Definitions: Plaintiffs bring this action on behalf of themselves and the
14     following Classes pursuant to Section 382 of the Code of Civil Procedure:
15              a.    The Minimum Wage Class consists of: (i) all of TransFirst’s current and former
16     non-exempt sales representatives, Account Executives, and similar job titles or job duties, in
17     California who were paid pursuant to Defendants’ commission-based compensation plan(s) that
18     do not separately compensate for every hour worked (e.g., recoverable draw based plans)1; (ii)
19     all of TSYS’ current and former non-exempt sales representatives, Account Executives, and
20     similar job titles or job duties, in California who were paid pursuant to Defendants’ commission-
21     based compensation plan(s) that do not separately compensate for every hour worked (e.g.,
22     recoverable draw based plans); and (iii) all of Defendants’ current and former non-exempt sales
23     representatives, Account Executives, and similar job titles or job duties in California who were
24     paid pursuant to Defendants’ commission-based compensation plan(s) that do not separately
25
       l
26      With respect to those individuals who participated in a prior class action settlement entitled,
       Benjamin Nable v. TransFirst, LLC, et al, United States District Court, Central District of
27     California Case No. 8:15-cv-00891-DOC-JCG, their minimum wage and overtime claims would
       be released against TransFirst through May 23, 2016.
28

                                                           6
                         Second Amended Class, Collective, and Representative Action Complaint
                                                                                                        Exhibit A
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 1     compensate for every hour worked (e.g., recoverable draw based plans) and were required to
 2     perform off-the-clock work, including but not limited to checking and/or responding to work-
 3     related e-mails after hours and were not paid for that time, at any time from four years preceding
 4     the filing of the original Complaint through the present date.
 5             b.     The Overtime Class consists of (i) all of TransFirst’s current and former non­
 6     exempt sales representatives, Account Executives, and similar job titles or job duties, in
 7     California who were paid pursuant to Defendants’ commission-based compensation plan(s) that
 8     do not separately compensate for every hour worked (e.g., recoverable draw based plans); (ii) all
 9     of TSYS’ current and former non-exempt sales representatives, Account Executives, and similar
10     job titles or job duties, in California who were paid pursuant to Defendants’ commission-based
11     compensation plan(s) that do not separately compensate for every hour worked (e.g., recoverable
12     draw based plans), and (iii) all of Defendants’ current and former non-exempt sales
13     representatives, Account Executives, and similar job titles or job duties in California who were
14     paid pursuant to Defendants’ commission-based compensation plan(s) that do not separately
15     compensate for every hour worked (e.g., recoverable draw based plans) and were required to
16     perform off-the-clock work, including but not limited to checking and/or responding to work-
17     related e-mails after hours and were not paid for that time, at any time from four years preceding
18     the filing of the original Complaint through the present date.
19            c.      The Rest Period Class consists of all Defendants’ current and former non­
20     exempt sales representatives, Account Executives, and similar job titles or job duties, in
21     California who were paid pursuant to Defendants’ commission-based compensation plan(s) that
22     do not separately compensate for every hour worked (e.g., recoverable draw based plans), and
23     worked at least one shift in excess of 3.5 hours, during the four years immediately preceding the
24     filing of the original Complaint through the present date.
25            d.      The Wage Statement Class consists of: (i) all members of the Minimum Wage
26     Class, Overtime Class, and/or Rest Period Class, who received a wage statement during the one
27     year immediately preceding the filing of the original Complaint through the present.
28     //


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 1             e.        The Waiting Time Class consists of all formerly employed members of the
 2     Minimum Wage Class, Overtime Class, and/or Rest Period Class, who separated their
 3     employment from Defendants during the three years immediately preceding the filing of the
 4     original Complaint through the present date.
 5             18.       Numerosity/Ascertainability: The members of the Classes are so numerous that
 6     joinder of all members would be unfeasible and not practicable. The membership of the classes
 7     and subclasses are unknown to Plaintiffs at this time; however, it is estimated that the Classes
 8     number greater than one-hundred (100) individuals as to each Class. The identity of such
 9     membership is readily ascertainable via inspection of Defendants’ employment records.
10             19.       Common Questions of Law and Fact Predominate/Well-Deflned Community
11     of Interest: There are common questions of law and fact as to Plaintiffs and all other similarly
12     situated employees, which predominate over questions affecting only individual members
13     including, without limitation to:
14            i.         Whether Defendants violated the applicable Labor Code provisions including, but
15     not limited to §§ 226.2, 510 and 1194 by requiring overtime work and not paying for said work
16     according to the overtime laws of the State of California;
17            ii.        Whether Defendants violated the applicable Labor Code provisions including, but
18     not limited to §§226.2, 1182.12, 1194, 1194.2 andl 197 by failing to pay all members ofthe
19     Minimum Wage Class at least the minimum wage for all hours worked;
20            iii.       Whether Defendants’ policies and/or practices for the timing and amount of
21     payment of final wages to members ofthe Waiting Time Class at the time of separation from
22     employment were unlawful;
23            iv.        Whether Defendants’ rest period policies and/or practices violated California law;
24            v.         Whether Defendants’ record keeping policies and practices were compliant with
25     California law; and
26            vi.        Whether the wage statements issued by Defendants were compliant with
27     California law.
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 1             20.    Predominance of Common Questions: Common questions of law and fact
 2     predominate over questions that affect only individual members of the Classes. The common
 3     questions of law set forth above are numerous and substantial and stem from Defendants’
 4     policies and/or practices applicable to each individual class member. As such, the common
 5     questions predominate over individual questions concerning each individual class member’s
 6     showing as to his or her eligibility for recovery or as to the amount of his or her damages.
 7            21.     Typicality: Plaintiffs’ claims are typical of the claims of the Classes because
 8     Plaintiffs were employed by Defendants as non-exempt, commission-based employees in
 9     California during the statutes of limitation applicable to each cause of action pled in the
10     Complaint in this action. As alleged herein, Plaintiffs, like the members of the Classes, were
11     deprived of all minimum and overtime wages, were not provided with all legally complaint rest
12     periods, received non-compliant wage statements, and (in the case of Plaintiff Gardiner) did not
13     receive all wages owed at the time of separation.
14            22.     Adequacy of Representation: Plaintiffs are fully prepared to take all necessary
15     steps to represent fairly and adequately the interests of the members of the Classes. Moreover,
16     Plaintiffs’ attorneys are ready, willing and able to fully and adequately represent the members of
17     the Classes and Plaintiffs. Plaintiffs’ attorneys have prosecuted and defended numerous wage-
18     and-hour class actions in state and federal courts in the past and are committed to vigorously
19     prosecuting this action on behalf of the members of the classes.
20            23.     Superiority: The California Labor Code is broadly remedial in nature and serves
21     an important public interest in establishing minimum working conditions and standards in
22     California. These laws and labor standards protect the average working employee from
23     exploitation by employers who have the responsibility to follow the laws and who may seek to
24     take advantage of superior economic and bargaining power in setting onerous terms and
25     conditions of employment. The nature of this action and the format of laws available to
26     Plaintiffs and members of the Classes make the class action format a particularly efficient and
27     appropriate procedure to redress the violations alleged herein. If each employee were required to
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 1     file an individual lawsuit, Defendants would necessarily gain an unconscionable advantage since
 2     they would be able to exploit and overwhelm the limited resources of each individual plaintiff
 3     with their vastly superior financial and legal resources. Moreover, requiring each member of the
 4     Classes to pursue an individual remedy would also discourage the assertion of lawful claims by
 5     employees who would be disinclined to file an action against their former and/or current
 6     employer for real and justifiable fear of retaliation and permanent damages to their careers at
 7     subsequent employment. Further, the prosecution of separate actions by the individual class
 8     members, even if possible, would create a substantial risk of inconsistent or varying verdicts or
 9     adjudications with respect to the individual class members against Defendants herein; and which
10     would establish potentially incompatible standards of conduct for Defendants; and/or legal
11     determinations with respect to individual class members which would, as a practical matter, be
12     dispositive of the interest of the other class members not parties to adjudications or which would
13     substantially impair or impede the ability of the class members to protect their interests. Further,
14     the claims of the individual members of the class are not sufficiently large to warrant vigorous
15     individual prosecution considering all of the concomitant costs and expenses attending thereto.
16            24.     As such, each of the Classes identified in Paragraph 17 is maintainable as a Class
17     under Section 382 of the Code of Civil Procedure.
18                                          FIRST CAUSE OF ACTION
19                                               FLSA VIOLATIONS
20                                              (29 U.S.C. § 201 etseq.)
21                                       (AGAINST ALL DEFENDANTS)
22            25.      Plaintiffs re-allege and incorporate by reference all previous paragraphs.
23            26.     This claim is brought pursuant to 29 U.S.C. § 207, which requires employers to
24     pay all non-exempt employees one and one-half times the regular rate of pay for all hours
25     worked in excess of 40 per workweek.
26             27.    Plaintiffs and members of the Overtime Class worked in excess of 40 hours per
27     workweek.
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 1              28.       Plaintiffs are informed and believe, and based thereon allege, that Defendants
 2     regularly and systematically, as a policy and practice, failed to compensate Plaintiffs and
 3     members of the Overtime Class for all time worked, including off-the-clock work as alleged
 4     herein, which resulted in Plaintiffs and Overtime Class members not being paid all overtime
 5     compensation owed.
 6                  29. Defendants’ policy and practice of requiring overtime work but not paying at the
 7     proper overtime rate for said work violates the FLSA’s requirements including, but not limited
 8     to, 29 U.S.C. § 207.
 9                  30.   Defendants’ policies and practices, as alleged, constitute a willful violation of the
10     FLSA, within the meaning of 29 U.S.C. § 255.
11                  31.   Defendants’ aforementioned violations create an entitlement to recovery by
12     Plaintiff and members of the Overtime Class in a civil action for the unpaid amount of wages and
13     overtime premiums owing, including liquidated damages, attorneys’ fees and costs, per 29
14     U.S.C. § 216, and interest thereon.
15                                           SECOND CAUSE OF ACTION
16                                        OVERTIME WAGE VIOLATIONS
17                                          (AGAINST ALL DEFENDANTS)
18            32.         Plaintiffs re-allege and incorporate by reference all prior paragraphs as though
19     fully set forth herein.
20            33.         This cause of action is brought on behalf of the Overtime Class pursuant to Labor
21     Code §§ 204, 226.2, 510, 558, 1194, and 1198, which provide that non-exempt employees are
22     entitled to all overtime wages and compensation for overtime hours worked, including for rest
23     periods, other non-productive time, and off-the-clock work, and provide a private right of action
24     for the failure to pay all overtime compensation for overtime work performed.
25            34.         At all times relevant herein, Defendants were required to properly compensate
26     non-exempt commissioned sales representatives, including Plaintiffs and members of the
27     Overtime Class, for all overtime hours worked pursuant to California Labor Code § 1194 and
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 1     Wage Order 4. Wage Order 4, § 3 requires an employer to pay an employee “one and one-half
 2     (IVi) times the employee’s regular rate of pay” for work in excess of 8 hours per work day and/or
 3     in excess of 40 hours of work in the workweek. Wage Order 4, § 3 also requires an employer to
 4     pay an employee double the employee’s regular rate of pay for work in excess of 12 hours each
 5     work day and/or for work in excess of 8 hours on the seventh consecutive day of work in the
 6     workweek.
 7            35.      Plaintiffs are informed and believe, and based thereon allege, that Defendants
 8     caused Plaintiffs and members of the Overtime Class to work overtime hours, but failed to fully
 9     compensate Plaintiffs or members of the Overtime Class at one and a half times their regular rate
10     of pay for such hours due to their policy/practice of not compensating commissioned sales
11     representatives separately for rest periods or other non-productive time and of requiring but not
12     paying for off-the-clock work.
13            36.      Defendants’ policy and practice of requiring overtime work and not paying at the
14     proper overtime rates for all overtime work violates California Labor Code §§ 204, 226.2, 510,
15     558, 1194, and 1198, and Wage Order 4.
16            37.      The foregoing policies and practices are unlawful and create an entitlement to
17     recovery by Plaintiffs and members of the Overtime Class in a civil action for the unpaid amount
18     of overtime premiums owing, including interest thereon, statutory penalties, civil penalties,
19     attorney’s fees, and costs of suit according to California Labor Code §§ 204, 226.2, 510, 558,
20     1194, 1198, and Code of Civil Procedure § 1021.5.
21                                          THIRD CAUSE OF ACTION
22                                       MINIMUM WAGE VIOLATIONS
23                                        (AGAINST ALL DEFENDANTS)
24            38.      Plaintiffs re-allege and incorporate by reference all prior paragraphs as though
25     fully set forth herein.
26            39.      Wage Order 4, § 4 and California Labor Code §§ 226.2, 1197 and 1182.12
27     establish the right of employees to be paid minimum wages for all hours worked, in amounts set
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 1     by state law, including for rest periods and other non-productive time. Labor Code §§ 1194(a)
 2     and 1194.2(a) provide that an employee who has not been paid the legal minimum wage as
 3     required by Labor Code § 1197 may recover the unpaid balance together with attorneys’ fees and
 4     costs of suit, as well as liquidated damages in an amount equal to the unpaid wages and interest
 5     accrued thereon.
 6            40.     At all relevant times herein, Defendants failed to conform their pay practices to
 7     the requirements of the law. This unlawful conduct includes, but is not limited to, Defendants’
 8     uniform commission compensation structure for members of the Minimum Wage Class, which
 9     resulted in these individuals not being paid separately for rest periods or other non-productive
10     time. Moreover, as alleged herein, Defendants required Plaintiffs and members of the Minimum
11     Wage Class to perform off-the-clock work without compensation. Accordingly, Plaintiffs and
12     members of the Minimum Wage Class were not compensated for all hours worked including, but
13     not limited to, all hours they were subject to the control of Defendants and/or suffered or
14     permitted to work under the California Labor Code and Wage Order 4.
15           41.      Defendants’ policy and practice of not paying all minimum wages violates
16     California Labor Code §§ 204, 226.2, 558, 1182.12, 1197.1, 1198, and Wage Order 4.
17           42.      Such a practice and uniform administration of corporate policy regarding illegal
18     employee compensation is unlawful and creates an entitlement to recovery by Plaintiffs and
19     members of the Minimum Wage Class in a civil action for the unpaid amount of minimum
20     wages, liquidated damages, including interest thereon, statutory penalties, attorneys’ fees, and
21     costs of suit according to California Labor Code §§ 204, 226.2, 558, 1194 et seq., 1194.2, 1198,
22     and Code of Civil Procedure § 1021.5.
23           43.      Asa consequence of Defendants’ non-payment of minimum wages, Plaintiffs and
24     members of the Minimum Wage Class seek penalties pursuant to Wage Order 4, § 20(A) and
25     California Labor Code § 1199; interest pursuant to California Labor Code §§ 218.6 and 1194 and
26     Civil Code §§ 3287 and 3289; liquidated damages pursuant to California Labor Code § 1194.2;
27     and attorneys’ fees and costs of suit pursuant to California Labor Code § 1194 et seq.
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 1                                         FOURTH CAUSE OF ACTION
 2                                          REST PERIOD VIOLATIONS
 3                                        (AGAINST ALL DEFENDANTS)
 4            44.      Plaintiffs re-allege and incorporate by reference all prior paragraphs as though
 5     folly set forth herein.
 6            45.      Wage Order 4, § 12 and California Labor Code §§ 226.7, 516 and 558 establish
 7     the right of employees to be authorized and permitted to take a paid rest period of at least ten
 8     (10) minutes for each four (4) hour period worked, or major fraction thereof.
 9            46.      Defendants failed to separately compensate Plaintiffs and members of the Rest
10     Period Class for each rest period to which they were entitled while working on a commission
11     compensation plan, and therefore failed to authorize and permit paid rest periods as required by
12     law.
13            47.      The foregoing violations create an entitlement to recovery by Plaintiffs and
14     members of the Rest Period Class in a civil action for the unpaid amount of rest period premiums
15     owing, including interest thereon, statutory penalties, attorney’s fees, and costs of suit pursuant
16     to California Labor Code §§ 226.7, 516, 558, and Civil Code §§ 3287(b) and 3289.
17                                           FIFTH CAUSE OF ACTION
18                                     WAGE STATEMENT VIOLATIONS
19                                        (AGAINST ALL DEFENDANTS)
20            48.      Plaintiffs re-allege and incorporate by reference all prior paragraphs as though
21     folly set forth herein.
22            49.      Plaintiffs are informed and believe, and based thereon allege, that Defendants
23     knowingly and intentionally, as a matter of uniform policy and practice, failed to furnish
24     Plaintiffs and members of the Wage Statement Class with accurate and complete wage
25     statements regarding their total regular hours worked, total overtime hours worked, total rest and
26     recovery periods, total non-productive time worked, total rest period premium wages earned,
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 1     total gross wages earned, and total net wages earned, in violation of Labor Code §§ 226 and
 2     226.2.
 3              50.    Defendants’ failure to furnish Plaintiffs and members of the Wage Statement
 4     Class with complete and accurate itemized wage statements resulted in actual injury, as said
 5     failures led to, among other things, the non-payment of all their minimum and overtime wages
 6     and rest period premiums wages, and deprived them of the information necessary to identify the
 7     discrepancies in Defendants’ reported data.
 8              51.    Defendants’ failures create an entitlement to recovery by Plaintiffs and members
 9     of the Wage Statement Class in a civil action for all damages and/or penalties pursuant to Labor
10     Code §§ 226 and 226.2, including statutory penalties, reasonable attorney’s fees, and costs of suit
11     according to California Labor Code §§ 226 and 226.2.
12                                           SIXTH CAUSE OF ACTION
13                                         WAITING TIME PENALTIES
14                                        (AGAINST ALL DEFENDANTS)
15              52.    Plaintiffs re-allege and incorporate by reference all prior paragraphs as though
16     fully set forth herein.
17              53.    This cause of action is brought pursuant to Labor Code §§ 201-203 which require
18     an employer to pay all wages earned immediately at the time of termination of employment in
19     the event the employer discharges the employee or the employee provides at least 72 hours of
20     notice of his/her intent to quit. In the event the employee provides less than 72 hours of notice of
21     his/her intent to quit, said employee’s wages become due and payable not later than 72 hours
22     upon said employee’s last date of employment.
23              54.    Plaintiffs are informed and believe, and based thereon allege, that Defendants
24     failed to timely pay Plaintiff Gardiner, Plaintiff Greco, and members of the Waiting Time Class
25     all final wages due to them at the time of their separation which includes, among other things,
26     underpaid overtime and minimum wages and rest period premium wages. Further, Plaintiffs are
27     informed and believe, and based thereon allege, that as a matter of uniform policy and practice,
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 1     Defendants continue to fail to pay members of the Waiting Time Class all earned wages at the
 2     end of employment in a timely manner pursuant to the requirements of Labor Code §§ 201-203.
 3     Defendants’ failure to pay all final wages was willful within the meaning of Labor Code § 203.
 4            55.      Defendants’ willful failure to timely pay Plaintiff Gardiner, Plaintiff Greco and
 5     the members of the Waiting Time Class their earned wages upon separation from employment
 6     results in a continued payment of wages up to thirty (30) days from the time the wages were due.
 7     Therefore, Plaintiff Gardiner and members of the Waiting Time Class are entitled to
 8     compensation pursuant to Labor Code § 203, plus reasonable attorneys' fees and costs of suit.
 9                                        SEVENTH CAUSE OF ACTION
10                                            UNFAIR COMPETITION
11                                        (AGAINST ALL DEFENDANTS)
12            56.      Plaintiffs re-allege and incorporate by reference all prior paragraphs as though
13     fully set forth herein.
14            57.      Defendants have engaged and continue to engage in unfair and/or unlawful
15     business practices in California in violation of California Business & Professions Code § 17200
16     et seq., by: (a) failing to pay Plaintiffs and members of the Minimum Wage Class at least the
17     minimum wage for all hours actually worked; (b) failing to pay Plaintiffs and members of the
18     Overtime Class overtime wages for all overtime hours actually worked; (c) failing to pay
19     Plaintiffs and members of the Rest Period Class rest period premium wages for each rest period
20     violation; (d) failing to issue compliant wage statements to Plaintiffs and members of the Wage
21     Statement Class; and (e) failing to pay Plaintiff Gardiner and members of the Waiting Time
22     Class all earned wages at the time of their separation.
23            58.      Defendants’ utilization of these unfair and/or unlawful business practices
24     deprived Plaintiffs and continues to deprive members of the Classes of compensation to which
25     they are legally entitled, constitutes unfair and/or unlawful competition, and provides an unfair
26     advantage over Defendants’ competitors who have been and/or are currently employing workers
27     and attempting to do so in honest compliance with applicable wage and hour laws.
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 1            59.      Because Plaintiffs are victims of Defendants’ unfair and/or unlawful conduct
 2     alleged herein, Plaintiffs, for themselves and on behalf of the members of the Classes, seek full
 3     restitution of monies, as necessary and according to proof, to restore any and all monies
 4     withheld, acquired and/or converted by the Defendants pursuant to Business & Professions Code
 5     §§ 17203 and 17208.
 6            60.     The acts complained of herein occurred within the last four years immediately
 7     preceding the filing of the Complaint in this action.
 8            61.     Plaintiffs were compelled to retain the services of counsel to file this court action
 9     to protect their interests and those of the Classes, to obtain restitution, and to enforce important
10     rights affecting the public interest. Plaintiffs thereby incurred the financial burden of attorneys’
11     fees and costs, which they are entitled to recover under Code of Civil Procedure § 1021.5.
12                                        EIGHTH CAUSE OF ACTION
13                                PRIVATE ATTORNEYS GENERAL ACT
14                                       (AGAINST ALL DEFENDANTS)
15           62.      Plaintiff Aldwin Marquis re-alleges and incorporates by reference all prior
16     paragraphs as though fully set forth herein.
17           63.      Defendants have committed several Labor Code violations against Plaintiff
18     Aldwin Marquis, members of the Classes, and other similarly aggrieved employees. Plaintiff
19     Aldwin Marquis, an “aggrieved employee” within the meaning of Labor Code § 2698 et seq.,
20     acting on behalf of himself and other similarly aggrieved employees, brings this representative
21     action against Defendants to recover the civil penalties due to himself, the members of the
22     Classes, other similarly aggrieved employees, and the State of California according to proof
23     pursuant to Labor Code § 558 and § 2699 (a) and (f) including, but not limited to: (1) pursuant to
24     Labor Code § 558(a), $50.00 for each initial violation of the Labor Code sections and/or Wage
25     Order provisions referenced in Labor Code § 558(a) and $100.00 for each subsequent violation
26     per employee per pay period, plus an amount sufficient to recover the unpaid wages; and (2)
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 1     pursuant to Labor Code § 2699(f)(2), $100.00 for each initial violation and $200 for each
 2     subsequent violation per employee per pay period for the following Labor Code violations:
 3             a.      Failing to pay Plaintiff Aldwin Marquis, the Overtime Class, and other similarly
 4                  aggrieved employees all earned overtime compensation in violation of Labor Code §§
 5                  226.2, 510, 558, 1194, and 1198;
 6            b.       Failing to pay minimum wages for all hours worked to Plaintiff Aldwin Marquis,
 7                  the Minimum Wage Class, and other similarly aggrieved employees in violation of
 8                  Labor Code §§ 226.2, 558, 1182.12, 1194, 1194.2, 1197, and 1198;
 9            c. Failing to authorize and permit all legally required rest periods, and failure to pay rest
10                  period premium wages, to Plaintiff Aldwin Marquis, the Rest Period Class, and other
11                  similarly aggrieved employees at the regular rate of compensation in violation of
12                  Labor Code §§ 226.7, 512, 558, and 1198;
13            d.       Failing to furnish Plaintiff Aldwin Marquis, the Wage Statement Class, and other
14                  similarly aggrieved employees with complete, accurate, itemized wage statements in
15                  violation of Labor Code §§ 226 and 226.2;
16            e.       Failing to pay non-exempt employees all earned wages at least twice during each
17                  calendar month in violation of Labor Code § 204; and
18            f.       Failing to maintain accurate records on behalf of Plaintiff Aldwin Marquis and
19                  other similarly aggrieved employees in violation of Labor Code §§ 558 and 1174.
20           64.       On September 13, 2017, Plaintiff Aldwin Marquis notified Defendants via
21     certified mail, and notified the California Labor and Workforce Development Agency
22     (“LWDA”) via its website, of Defendants’ violations of the California Labor Code and
23     Plaintiffs intent to bring a claim for civil penalties under California Labor Code § 2698 et seq.
24     with respect to violations of the California Labor Code identified in Paragraph 64 (a)-(f). Now
25     that sixty-five days have passed from Plaintiff Aldwin Marquis’ notifying Defendants and the
26     LWDA of these violations, and the LWDA has not provided notice that it intends to investigate
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 1     the violations, Plaintiff Aldwin Marquis has exhausted his administrative requirements for
 2     bringing a claim under the Private Attorneys General Act with respect to these violations.
 3             65.       Plaintiff Aldwin Marquis was compelled to retain the services of counsel to file
 4     this court action to protect his interests and the interests of other similarly aggrieved employees,
 5     and to assess and collect the civil penalties owed by Defendants. Plaintiff Aldwin Marquis has
 6     thereby incurred attorneys’ fees and costs, which he is entitled to receive under California Labor
 7     Code § 2699(g).
 8             66.      Plaintiff Aldwin Marquis was compelled to retain the services of counsel to file
 9     this court action to protect his interests and the interests of other similarly aggrieved employees,
10     and to assess and collect the civil penalties owed by Defendants. Plaintiff Aldwin Marquis has
11     thereby incurred attorneys’ fees and costs, which he is entitled to receive under California Labor
12     Code § 2699(g).
13                                                         PRAYER
14             WHEREFORE, Plaintiffs pray for judgment for themselves and for all others on whose
15     behalf this suit is brought against Defendants, jointly and severally, as follows:
16                   1. For an order certifying the proposed Classes;
17                   2. For an order appointing Plaintiffs as representatives of the Classes;
18                   3. For an order appointing Counsel for Plaintiffs as Counsel for the Classes;
19                   4. Upon the First Cause of Action, for compensatory, consequential, liquidated,
20     general and special damages pursuant to 29 U.S.C. §§ 207 and 216;
21                   5. Upon the Second Cause of Action, for compensatory, consequential, general and
22     special damages according to proof pursuant to Labor Code §§ 204, 226.2, 510, 558, 1194, and
23     1198;
24                   6. Upon the Third Cause of Action, for payment of minimum wages, liquidated
25     damages, and penalties according to proof pursuant to Labor Code §§ 226.2, 1182.12, 1194,
26     1194.2 and 1197;
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 1                7. Upon the Fourth Cause of Action, for compensatory, consequential, general and
 2     special damages according to proof pursuant to Labor Code §§ 226.7, 516, and 558;
 3                8. Upon the Fifth Cause of Action, for statutory wage statement penalties pursuant
 4     to Labor Code §§ 226 and 226.2;
 5                9. Upon the Sixth Cause of Action, for statutory waiting time penalties pursuant to
 6     Labor Code §§201-203;
 7                10. Upon the Seventh Cause of Action, for restitution to Plaintiffs and members of the
 8     Classes of all money and/or property unlawfully acquired by Defendants by means of any acts or
 9     practices declared by this Court to be in violation of Business & Professions Code § 17200 et
10     seq.;
11                11.   Upon the Eighth Cause of Action, for civil penalties due to Plaintiff Aldwin
12     Marquis, other similarly aggrieved employees, and the State of California according to proof
13     pursuant to Labor Code §§ 558 and 2699(a) and (f) including, but not limited to: (1) $50.00 for
14     each initial violation and $100 for each subsequent violation of Labor Code § 558 per employee
15     per pay period plus an amount sufficient to recover the unpaid wages; and (2) $100.00 for each
16     initial violation and $200 for each subsequent violation per employee per pay period for the
17     violations of the Labor Code Sections cited in Labor Code § 2699.5;
18                12. Prejudgment interest on all due and unpaid wages pursuant to California Labor
19     Code § 218.6 and Civil Code §§ 3287 and 3289;
20                13. On all causes of action, for attorneys’ fees and costs as provided by Labor Code
21     §§ 226, 1194 et seq., and 2699(g); and Code of Civil Procedure § 1021.5; and
22                14. For such other and further relief the Court may deem just and proper.
23
24                                                       Respectfully submitted,
       Dated: February 26, 2018                          HAINES LAW GROUP, APC
25
26                                              By:      Paul K. Haines______
                                                         Paul K. Haines
27
                                                         Attorneys for Plaintiffs
28

                                                          20
                         Second Amended Class, Collective, and Representative Action Complaint
                                                                                                   Exhibit A
                                                                                                   Page 30
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 1
 2                                       DEMAND FOR JURY TRIAL
 3           Plaintiffs hereby demands a jury trial with respect to all issues triable by jury.
 4

 5     Dated: February 26, 2018       HAINES LAW GROUP, APC

 6
                                               By:       Paul K Haines______
 7                                                       Paul K. Haines
                                                         Attorneys for Plaintiffs
 8
 9
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II
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                        Second Amended Class, Collective, and Representative Action Complaint
                                                                                                  Exhibit A
                                                                                                  Page 31
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 1

 2                                       PROOF OF SERVICE
                       Adam Gardiner, et al., v. TSYS Business Solutions, LLC, et al.
 3                Orange County Superior Court Case No. 30-2017-00942890-CU-OE-CXC
 4     STATE OF CALIFORNIA                   )
                                             ) ss.
 5
       COUNTY OF LOS ANGELES                 )
 6
              I am employed in the County of Los Angeles, State of California. I am over the age of 18
 7     and not a party to the within action; my business address is [X] 222 N. Sepulveda Blvd., Suite
       1550, El Segundo, California 90245.
 8
              On February 28, 2018 I served the foregoing document(s) described as:
 9
10     STIPULATION AND [PROPOSED] ORDER GRANTING PLAINTIFF LEAVE TO FILE
       A SECOND AMENDED COMPLAINT on the interested party(ies) in this action as follows:
11
       John R. Giovannone, Esq.
12     SEYFARTH SHAW LLP
       333 S. Hope Street, Suite 3900
13
       Los Angeles, California 90071-1406
14     Attorneys for Defendants TSYS BUSINESS SOLUTIONS, LLC, and TOTAL SYSTEM
       SERVICES, INC.
15
       [ ] (BY MAIL) I am "readily familiar" with Haines Law Group, APC’s practice of collection
16     and processing correspondence for mailing. I enclosed the document(s) in a sealed envelope or
17     package addressed to the persons at the address(es) listed above. Under the practice the
       correspondence would be deposited with the U.S. postal service on the same day with postage
18     thereof fully prepaid at El Segundo, California in the ordinary course of business. I am aware
       that on motion of the party served, service is presumed invalid if postage cancellation date or
19     postage date is more than one day after date of deposit for mailing in affidavit.
20
       [X] (BY ELECTRONIC SERVICE) Electronic Filing through One Legal, the electronic filing
21     system of the Orange County Superior Court, pursuant to Local Rules, which will send
       notification of such filing to the e-mail addresses denoted on the case’s Electronic Service List.
22
       [X] (STATE) I declare under penalty of perjury under the laws of the State of California that the
23     above is true and correct.
24
       Executed on February 28, 2018 at El Segundo, California.
25
                                                     s/ Dana Joudi
26                                                    Dana Joudi
27

28

                                                   l
                                            PROOF OF SERVICE
                                                                                                   Exhibit A
                                                                                                   Page 32
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                           EXHIBIT B




                                                                      Exhibit B
                                                                      Page 33
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                                                                      ELECTRONICALLY FILED
                                                                       Superior Court of California,
                                                                           County of Orange
 1     HAINES LAW GROUP, APC
       Paul K. Haines (SBN 248226)                                     0MSJ2017 at D4:EM4 PM
 2     phaines@haineslawgroup.com                                      Cleric of the Superior Court
       Tuvia Korobkin (SBN 268066)                                  By Georgina Ramirez .Deputy Clerk
 3     tkorobkin@haineslawgroup.com
       Daniel J. Brown (SBN 307604)
 4     dbrown@haineslawgroup.com
       2274 East Maple Avenue
 5     El Segundo, California 90245
       Tel: (424) 292-2350
 6     Fax: (424) 292-2355
 7     Attorneys for Plaintiffs
       ADAM GARDINER and ALDWIN MARQUIS
 8

 9                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
10                                     COUNTY OF ORANGE
11                                                                    Judge Thierry Patrick Colauu

12     ADAM GARDINER and ALDWIN MARQUIS, Case No. 30-2017-00942890- C U- 0 E- CXC
       as individuals and on behalf of all others similarly
                                                            CLASS ACTION COMPLAINT: cx-105
13     situated,
                                                            (1) OVERTIME WAGE
14                                                              VIOLATIONS (LABOR CODE
                                Plaintiffs,                     §§ 204, 226.2, 510, 558,1194,
15                                                              1198);
               vs.
16                                                          (2) MINIMUM WAGE
                                                                VIOLATIONS (LABOR CODE
17     TSYS BUSINESS SOLUTIONS, LLC, f/k/a                      §§ 226.2,1182.12,1194,1194.2,
       TRANSFIRST, LLC, a Delaware limited liability            1197);
18     company; TOTAL SYSTEM SERVICES, INC., a (3) REST PERIOD VIOLATIONS
       Georgia corporation; and DOES 1 through 100,             (LABOR CODE §§ 226.7, 516,
19
                                                                558);
20                           Defendants.             (4) WAGE STATEMENT
21                                                       VIOLATIONS (LABOR CODE
                                                         § 226 et seq., 226.2);
22
                                                     (5) WAITING TIME PENALTIES
                                                         (LABOR CODE §§ 201-203)
23
                                                     (6) UNFAIR COMPETITION
24                                                       (BUS & PROF CODE § 17200
                                                         et seq.);
25
                                                     DEMAND FOR JURY TRIAL
26                                                   UNLIMITED CIVIL CASE
27

28

                                                   1
                                        Class Action Complaint
                                                                                                Exhibit B
                                                                                                Page 34
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 1            Plaintiffs Adam Gardiner and Aldwin Marquis (collectively “Plaintiffs”), on behalf of
 2     themselves and all others similarly situated, hereby bring this Class Action Complaint against
 3     Defendants TSYS Business Solutions, LLC, formerly known as TransFirst, LLC, a Delaware
 4     limited liability company; Total System Services, Inc., a Georgia corporation; and DOES 1 to
 5     100 (collectively “Defendants”), inclusive, and on information and belief alleges as follows:
 6                                              JURISDICTION
 7             1.     Plaintiffs, on behalf of themselves and all others similarly situated, hereby bring
 8     this class action for recovery of unpaid wages and penalties under California Labor Code §§
 9     201-204, 226, 226.2, 226.7,510,516,558, 1182.12, 1194, 1194.2, 1197, 1198, California
10     Business & Professions Code §17200 et. seq. and Industrial Welfare Commission Wage Order
11     No. 4 (“Wage Order 4”), in addition to seeking declaratory relief and restitution. This class
12     action is brought pursuant to California Code of Civil Procedure 382. This Court has
13     jurisdiction over Defendants’ violations of the California Labor Code because the amount in
14     controversy exceeds this Court's jurisdictional minimum.
15                                                  VENUE
16            2.      Venue as to each Defendant is proper in this judicial district pursuant to
17     California Code of Civil Procedure §§ 395(a) and 395.5, as at least some of the acts and
18     omissions complained of herein occurred in the County of Orange. Further, at all times relevant
19     herein Plaintiffs were (or are) employed by Defendants within the County of Orange.
20                                                 PARTIES
21            3.      Plaintiffs are individuals over the age of eighteen (18). At all relevant times
22     herein, Plaintiffs were, and currently are, California residents. During the four years
23     immediately preceding the filing of the Complaint in this action and within the statute of
24     limitations periods applicable to each cause of action pled herein, Plaintiffs were employed by
25     Defendants as non-exempt employees. Plaintiffs were, and are, victims of Defendants’ policies
26     and/or practices complained of herein, lost money and/or property, and have been deprived of
27     the rights guaranteed to them by California Labor Code §§ 201-203, 226, 226.2, 226.7, 510,
28     516, 558, 1182.12, 1194, 1194.2, 1197, 1198, California Business & Professions Code § 17200
                                                        2
                                            Class Action Complaint
                                                                                                        Exhibit B
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 1     et seq. (“Unfair Competition Law”), and Wage Order 4, which sets employment standards for
 2     “professional, technical, clerical, mechanical and similar occupations,” including salespersons.
 3            4.      Plaintiffs are informed and believe, and based thereon allege, that during the four
 4     years preceding the filing of the Complaint and continuing to the present, Defendants did (and
 5     do) business by operating a company that provides credit card processing, debit card processing,
 6     and other payment processing services for retailers and merchants within the County of Orange,
 7     and employed Plaintiffs and other, similarly-situated hourly non-exempt employees within the
 8     County of Orange and, therefore, were (and are) doing business in the County of Orange and the
 9     State of California.
10            5.      Founded in 1995, Defendant TSYS Business Solutions, LLC, formerly known as
11     TransFirst, LLC (“TransFirst”), is one of the largest providers of secure payment processing in
12     the United States, serving more than 235,000 merchants, financial institutions, and sales partners
13     and employing over 1,000 employees nationwide. TransFirst maintains a facility in Cypress,
14     California, as well as other offices nationwide. In or around 2016, Defendant Total System
15     Services, Inc. (“TSYS”) acquired TransFirst.
16            6.      Plaintiffs are informed and believe, and thereon allege, that at all times mentioned
17     herein, Defendants were licensed to do business in California and the County of Orange, and
18     were the employers of Plaintiffs and the Classes (as defined in Paragraph 15).
19            7.      Plaintiffs do not know the true names, capacities, relationships and/or the extent
20     of participation of Defendants DOES 1 through 100, inclusive, in the conduct alleged in this
21     Complaint. For that reason, Defendants DOES 1 through 100, inclusive, are sued under such
22     fictitious names. Plaintiffs pray for leave to amend this Complaint when the true names and
23     capacities are known. Plaintiffs are informed and believe, and based thereon allege, that each
24     fictitiously named defendant is and was responsible in some way for the alleged wage and hour
25     violations and other wrongful conduct which subjected Plaintiffs and the Classes, as defined
26     below, to the illegal employment practices, wrongs and injuries complained of herein. All
27     references in this Complaint to “Defendants” shall be deemed to include all DOE Defendants.
28     III
                                                       3
                                            Class Action Complaint
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 1            8.      At all times herein mentioned, each of said Defendants participated in the doing
 2     of the acts hereinafter alleged to have been done by the named Defendants; and furthermore, the
 3     Defendants, and each of them, were the agents, servants, and employees of each and every one of
 4     the other Defendants, as well as the agents of all Defendants, and at all times herein mentioned
 5     were acting within the course and scope of said agency and employment. Defendants, and each
 6     of them, approved of, condoned, and/or otherwise ratified each and every one of the acts or
 7     omissions complained of herein.
 8            9.      At all times mentioned herein, Defendants, and each of them, were members of
 9     and engaged in a joint venture, partnership, and common enterprise, and acting within the course
10     and scope of and in pursuance of said joint venture, partnership, and common enterprise. Further,
11     Plaintiffs allege that all Defendants were joint employers for all purposes of Plaintiffs and all
12     members of the Classes (as defined in Paragraph 15).
13                                GENERAL FACTUAL ALLEGATIONS
14            10.     Plaintiff Aldwin Marquis has been employed by Defendants since approximately
15     June 2012 as a non-exempt Account executive at Defendants’ facility in Cypress, California, and
16     is still currently employed by Defendants.
17            11.     Plaintiff Adam Gardiner was employed by Defendants during the putative class
18     period as a non-exempt sales representative at Defendants’ Cypress, California facility, and his
19     employment with Defendants ended in approximately January 2015.
20            12.     During Plaintiffs’ employment with Defendants, Plaintiffs were paid on a
21     commission basis, whereby Plaintiffs were paid commissions based on services and/or
22     equipment that Plaintiffs sold to Defendants’ customers. However, Plaintiffs were not separately
23     compensated for time spent working on tasks which did not generate commissions, including for
24     example, time spent attending meetings, and working on other accounts for which they were not
25     earning commissions, (i.e., non-productive time), thereby resulting in Plaintiffs not being paid at
26     least the minimum wage for all hours worked. In addition, on those occasions where Plaintiffs
27     worked over eight hours in a workday and/or over 40 hours in a workweek, Defendants’ failure
28
                                                        4
                                            Class Action Complaint
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 1     to compensate Plaintiffs separately for all non-productive time resulted in Plaintiffs not being
 2     paid all overtime compensation owed.
 3             13.    Plaintiffs worked shifts in excess of 3.5 hours, and were never provided with a
 4     paid rest period for every 4 hour period worked, or major fraction thereof, because Defendants’
 5     commission-based compensation plan failed to separately compensate Plaintiffs for required rest
 6     periods. See Bluford v. Safeway Inc., 216 Cal. App. 4th 864 (2013) (holding that where
 7     employees are paid on an “activity-based compensation system,” employers must pay employees
 8     separately for rest periods, and finding that “[tjhere is no dispute that Safeway’s activity-based
 9     compensation system did not separately compensate drivers for their rest periods.”); Vaquero v.
10     Stoneledge Furniture LLC, 9 Cal.App.5th 98, 110-11 (holding that the requirement to pay
11     separately for rest periods “applies equally to commissioned salespersons”). As a result,
12     Plaintiffs were not paid all minimum wages and/or overtime wages owed. In addition, despite
13     failing to authorize and permit Plaintiffs to take paid 10-minute rest periods, Defendants failed to
14     pay Plaintiffs the premium wages they were owed under Labor Code § 226.7.
15            14.     As a result of Defendants’ failure to pay all minimum wages, overtime wages, and
16     rest period premium wages, Defendants maintained inaccurate payroll records, issued inaccurate
17     wage statements, and did not pay Plaintiff Gardiner and other former non-exempt employees all
18     wages owed at the time of their separation from employment with Defendants.
19                       CLASS AND COLLECTIVE ACTION ALLEGATIONS
20            15.     Class Definitions: Plaintiffs bring this action on behalf of themselves and the
21     following Classes pursuant to Section 382 of the Code of Civil Procedure:
22            a.      The Minimum Wage Class consists of: (i) all of TransFirst’s current and former
23     non-exempt sales representatives, Account Executives, and similar job titles or job duties, in
24     California who were paid pursuant to Defendants’ commission-based compensation plan(s), at
25     any time from May 24, 20161 through the present date; and (ii) all of TSYS’ current and former
26
27     l
        A prior class action settlement in the case of Beniamin Nable v. TransFirst. LLC, et al. U.S.
       District Court, Central District of California Case No. 8:15-cv-00891-DOC-JCG, resolved
28
       Plaintiffs’ minimum wage and overtime claims against TransFirst through May 23, 2016.
                                                         5
                                             Class Action Complaint
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 1   non-exempt sales representatives, Account Executives, and similar job titles or job duties, in
 2   California who were paid pursuant to Defendants’ commission-based compensation plan(s), at
 3   any time from four years preceding the filing of the Complaint through the present date.
 4          b.      The Overtime Class consists of (i) all of TransFirst’s current and former non­
 5   exempt sales representatives, Account Executives, and similar job titles or job duties, in
 6   California who were paid pursuant to Defendants’ commission-based compensation plan(s), at
 7   any time from May 24, 2016 through the present date; and (ii) all of TSYS’ current and former
 8   non-exempt sales representatives, Account Executives, and similar job titles or job duties, in
 9   California who were paid pursuant to Defendants’ commission-based compensation plan(s), at
10   any time from four years preceding the filing of the Complaint through the present date.
11          c.      The Rest Period Class consists of all Defendants’ current and former non-
12   exempt sales representatives, Account Executives, and similar job titles or job duties, in
13   California who were paid pursuant to Defendants’ commission-based compensation plan(s), and
14   worked at least one shift in excess of 3.5 hours, during the four years immediately preceding the
15   filing of the Complaint through the present date.
16          d.      The Wage Statement Class consists of: (i) all members of the Minimum Wage
17   Class, Overtime Class, and/or Rest Period Class, who received a wage statement during the one
18   year immediately preceding the filing of the Complaint through the present.
19          e.      The Waiting Time Class consists of all formerly employed members of the
20   Minimum Wage Class, Overtime Class, and/or Rest Period Class, who separated their
21   employment from Defendants during the three years immediately preceding the filing of the
22   Complaint through the present date.
23          16.     Numerosity/Ascertainability: The members of the Classes are so numerous that
24   joinder of all members would be unfeasible and not practicable. The membership of the classes
25   and subclasses are unknown to Plaintiffs at this time; however, it is estimated that the Classes
26   number greater than one-hundred (100) individuals as to each Class. The identity of such
27   membership is readily ascertainable via inspection of Defendants’ employment records.
28   III
                                                      6
                                           Class Action Complaint
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 1             17.       Common Questions of Law and Fact Predominate/Weil-Defined Community
 2     of Interest: There are common questions of law and fact as to Plaintiffs and all other similarly
 3     situated employees, which predominate over questions affecting only individual members
 4     including, without limitation to:
 5            i.         Whether Defendants violated the applicable Labor Code provisions including, but
 6     not limited to §§ 226.2, 510 and 1194 by requiring overtime work and not paying for said work
 7     according to the overtime laws of the State of California;
 8            ii.        Whether Defendants violated the applicable Labor Code provisions including, but
 9     not limited to §§ 226.2, 1182.12, 1194, 1194.2 andl 197 by failing to pay all members of the
10     Minimum Wage Class at least the minimum wage for all hours worked;
11            iii.       Whether Defendants’ policies and/or practices for the timing and amount of
12     payment of final wages to members of the Waiting Time Class at the time of separation from
13     employment were unlawful;
14            iv.        Whether Defendants’ rest period policies and/or practices violated California law;
15            v.         Whether Defendants’ record keeping policies and practices were compliant with
16     California law; and
17            vi.        Whether the wage statements issued by Defendants were compliant with
18     California law.
19             18.       Predominance of Common Questions: Common questions of law and fact
20     predominate over questions that affect only individual members of the Classes. The common
21     questions of law set forth above are numerous and substantial and stem from Defendants’
22     policies and/or practices applicable to each individual class member. As such, the common
23     questions predominate over individual questions concerning each individual class member’s
24     showing as to his or her eligibility for recovery or as to the amount of his or her damages.
25             19.       Typicality: Plaintiffs’ claims are typical of the claims of the Classes because
26     Plaintiffs were employed by Defendants as non-exempt, commission-based employees in
27     California during the statutes of limitation applicable to each cause of action pled in the
28     Complaint in this action. As alleged herein, Plaintiffs, like the members of the Classes, were
                                                          7
                                               Class Action Complaint
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 1     deprived of all minimum and overtime wages, were not provided with all legally complaint rest
 2     periods, received non-compliant wage statements, and (in the case of Plaintiff Gardiner) did not
 3     receive all wages owed at the time of separation.
 4            20.     Adequacy of Representation: Plaintiffs are fully prepared to take all necessary
 5     steps to represent fairly and adequately the interests of the members of the Classes. Moreover,
 6     Plaintiffs’ attorneys are ready, willing and able to fully and adequately represent the members of
 7     the Classes and Plaintiffs. Plaintiffs’ attorneys have prosecuted and defended numerous wage-
 8     and-hour class actions in state and federal courts in the past and are committed to vigorously
 9     prosecuting this action on behalf of the members of the classes.
10            21.     Superiority: The California Labor Code is broadly remedial in nature and serves
11     an important public interest in establishing minimum working conditions and standards in
12     California. These laws and labor standards protect the average working employee from
13     exploitation by employers who have the responsibility to follow the laws and who may seek to
14     take advantage of superior economic and bargaining power in setting onerous terms and
15     conditions of employment. The nature of this action and the format of laws available to
16     Plaintiffs and members of the Classes make the class action format a particularly efficient and
17     appropriate procedure to redress the violations alleged herein. If each employee were required to
18     file an individual lawsuit, Defendants would necessarily gain an unconscionable advantage since
19     they would be able to exploit and overwhelm the limited resources of each individual plaintiff
20     with their vastly superior financial and legal resources. Moreover, requiring each member of the
21     Classes to pursue an individual remedy would also discourage the assertion of lawful claims by
22     employees who would be disinclined to file an action against their former and/or current
23     employer for real and justifiable fear of retaliation and permanent damages to their careers at
24     subsequent employment. Further, the prosecution of separate actions by the individual class
25     members, even if possible, would create a substantial risk of inconsistent or varying verdicts or
26     adjudications with respect to the individual class members against Defendants herein; and which
27     would establish potentially incompatible standards of conduct for Defendants; and/or legal
28     determinations with respect to individual class members which would, as a practical matter, be
                                                        8
                                            Class Action Complaint
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 1     dispositive of the interest of the other class members not parties to adjudications or which would
 2     substantially impair or impede the ability of the class members to protect their interests. Further,
 3     the claims of the individual members of the class are not sufficiently large to warrant vigorous
 4     individual prosecution considering all of the concomitant costs and expenses attending thereto.
 5             22.     As such, each of the Classes identified in Paragraph 15 is maintainable as a Class
 6     under Section 382 of the Code of Civil Procedure.
 7                                       FIRST CAUSE OF ACTION
 8                                   OVERTIME WAGE VIOLATIONS
 9                                    (AGAINST ALL DEFENDANTS)
10            23.      Plaintiffs re-allege and incorporate by reference all prior paragraphs as though
11     fully set forth herein.
12            24.      This cause of action is brought on behalf of the Overtime Class pursuant to Labor
13     Code §§ 204, 226.2, 510, 558, 1194, and 1198, which provide that non-exempt employees are
14     entitled to all overtime wages and compensation for overtime hours worked, including for rest
15     periods and other non-productive time, and provide a private right of action for the failure to pay
16     all overtime compensation for overtime work performed.
17            25.      At all times relevant herein, Defendants were required to properly compensate
18     non-exempt commissioned sales representatives, including Plaintiffs and members of the
19     Overtime Class, for all overtime hours worked pursuant to California Labor Code § 1194 and
20     Wage Order 4. Wage Order 4, § 3 requires an employer to pay an employee “one and one-half
21     (1M>) times the employee’s regular rate of pay” for work in excess of 8 hours per work day and/or
22     in excess of 40 hours of work in the workweek. Wage Order 4, § 3 also requires an employer to
23     pay an employee double the employee’s regular rate of pay for work in excess of 12 hours each
24     work day and/or for work in excess of 8 hours on the seventh consecutive day of work in the
25     workweek.
26            26.      Plaintiffs are informed and believe, and based thereon allege, that Defendants
27     caused Plaintiffs and members of the Overtime Class to work overtime hours, but failed to fully
28     compensate Plaintiffs or members of the Overtime Class at one and a half times their regular rate
                                                        9
                                             Class Action Complaint
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 1     of pay for such hours due to their policy/practice of not compensating commissioned sales
 2     representatives separately for rest periods or other non-productive time.
 3            27.      Defendants’ policy and practice of requiring overtime work and not paying at the
 4     proper overtime rates for all overtime work violates California Labor Code §§ 204, 226.2, 510,
 5     558, 1194, and 1198, and Wage Order 4.
 6            28.      The foregoing policies and practices are unlawful and create an entitlement to
 7     recovery by Plaintiffs and members of the Overtime Class in a civil action for the unpaid amount
 8     of overtime premiums owing, including interest thereon, statutory penalties, civil penalties,
 9     attorney’s fees, and costs of suit according to California Labor Code §§ 204, 226.2, 510, 558,
10     1194, 1198, and Code of Civil Procedure § 1021.5.
11                                      SECOND CAUSE OF ACTION
12                                    MINIMUM WAGE VIOLATIONS
13                                     (AGAINST ALL DEFENDANTS)
14            29.      Plaintiffs re-allege and incorporate by reference all prior paragraphs as though
15     fully set forth herein.
16,           30.      Wage Order 4, § 4 and California Labor Code §§ 226.2, 1197 and 1182.12
17     establish the right of employees to be paid minimum wages for all hours worked, in amounts set
18     by state law, including for rest periods and other non-productive time. Labor Code §§ 1194(a)
19     and 1194.2(a) provide that an employee who has not been paid the legal minimum wage as
20     required by Labor Code § 1197 may recover the unpaid balance together with attorneys’ fees and
21     costs of suit, as well as liquidated damages in an amount equal to the unpaid wages and interest
22     accrued thereon.
23            31.      At all relevant times herein, Defendants failed to conform their pay practices to
24     the requirements of the law. This unlawful conduct includes, but is not limited to, Defendants’
25     uniform commission compensation structure for members of the Minimum Wage Class, which
26     resulted in these individuals not being paid separately for rest periods or other non-productive
27     time. Accordingly, Plaintiffs and members of the Minimum Wage Class were not compensated
28     for all hours worked including, but not limited to, all hours they were subject to the control of
                                                        10
                                             Class Action Complaint
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 1     Defendants and/or suffered or permitted to work under the California Labor Code and Wage
 2     Order 4.
 3            32.      Defendants’ policy and practice of not paying all minimum wages violates
 4     California Labor Code §§ 204, 226.2, 558, 1182.12, 1197.1, 1198, and Wage Order 4.
 5            33.      Such a practice and uniform administration of corporate policy regarding illegal
 6     employee compensation is unlawful and creates an entitlement to recovery by Plaintiffs and
 7     members of the Minimum Wage Class in a civil action for the unpaid amount of minimum
 8     wages, liquidated damages, including interest thereon, statutory penalties, attorneys’ fees, and
 9     costs of suit according to California Labor Code §§ 204, 226.2, 558, 1194 et seq., 1194.2, 1198,
10     and Code of Civil Procedure § 1021.5.
11            34.      As a consequence of Defendants’ non-payment of minimum wages, Plaintiffs and
12     members of the Minimum Wage Class seek penalties pursuant to Wage Order 4, § 20(A) and
13     California Labor Code § 1199; interest pursuant to California Labor Code §§ 218.6 and 1194 and
14     Civil Code §§ 3287 and 3289; liquidated damages pursuant to California Labor Code § 1194.2;
15     and attorneys’ fees and costs of suit pursuant to California Labor Code § 1194 et seq.
16                                          THIRD CAUSE OF ACTION
17                                         REST PERIOD VIOLATIONS
18                                        (AGAINST ALL DEFENDANTS)
19            35.      Plaintiffs re-allege and incorporate by reference all prior paragraphs as though
20     fully set forth herein.
21            36.      Wage Order 4, § 12 and California Labor Code §§ 226.7, 516 and 558 establish
22     the right of employees to be authorized and permitted to take a paid rest period of at least ten
23     (10) minutes for each four (4) hour period worked, or major fraction thereof.
24            37.      Defendants failed to separately compensate Plaintiffs and members of the Rest
25     Period Class for each rest period to which they were entitled while working on a commission
26     compensation plan, and therefore failed to authorize and permit paid rest periods as required by
27     law.
28     III
                                                        11
                                             Class Action Complaint
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 1              38.    The foregoing violations create an entitlement to recovery by Plaintiffs and

 2     members of the Rest Period Class in a civil action for the unpaid amount of rest period premiums
 3     owing, including interest thereon, statutory penalties, attorney’s fees, and costs of suit pursuant

 4     to California Labor Code §§ 226.7, 516, 558, and Civil Code §§ 3287(b) and 3289.

 5                                     FOURTH CAUSE OF ACTION

 6                                  WAGE STATEMENT VIOLATIONS

 7                                    (AGAINST ALL DEFENDANTS)

 8              39.    Plaintiffs re-allege and incorporate by reference all prior paragraphs as though

 9     fully set forth herein.
10              40.    Plaintiffs are informed and believe, and based thereon allege, that Defendants

11     knowingly and intentionally, as a matter of uniform policy and practice, failed to furnish

12     Plaintiffs and members of the Wage Statement Class with accurate and complete wage

13     statements regarding their total regular hours worked, total overtime hours worked, total rest and

14     recovery periods, total non-productive time worked, total rest period premium wages earned,

15     total gross wages earned, and total net wages earned, in violation of Labor Code §§ 226 and

16     226.2.
17              41.    Defendants’ failure to furnish Plaintiffs and members of the Wage Statement

18     Class with complete and accurate itemized wage statements resulted in actual injury, as said

19     failures led to, among other things, the non-payment of all their minimum and overtime wages

20     and rest period premiums wages, and deprived them of the information necessary to identify the

21     discrepancies in Defendants’ reported data.

22              42.    Defendants’ failures create an entitlement to recovery by Plaintiffs and members

23     of the Wage Statement Class in a civil action for all damages and/or penalties pursuant to Labor

24     Code §§ 226 and 226.2, including statutory penalties, reasonable attorney’s fees, and costs of suit

25     according to California Labor Code §§ 226 and 226.2.

26     III

27     III

28     III
                                                        12
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 1                                       FIFTH CAUSE OF ACTION
 2                                      WAITING TIME PENALTIES
 3                                     (AGAINST ALL DEFENDANTS)
 4            43.      Plaintiffs re-allege and incorporate by reference all prior paragraphs as though
 5     fully set forth herein.
 6            44.      This cause of action is brought pursuant to Labor Code §§ 201-203 which require
 7     an employer to pay all wages earned immediately at the time of termination of employment in
 8     the event the employer discharges the employee or the employee provides at least 72 hours of
 9     notice of his/her intent to quit. In the event the employee provides less than 72 hours of notice of
10     his/her intent to quit, said employee’s wages become due and payable not later than 72 hours
11     upon said employee’s last date of employment.
12            45.      Plaintiffs are informed and believe, and based thereon allege, that Defendants
13     failed to timely pay Plaintiff Gardiner and members of the Waiting Time Class all final wages
14     due to them at the time of their separation which includes, among other things, underpaid
15     overtime and minimum wages and rest period premium wages. Further, Plaintiffs are informed
16     and believe, and based thereon allege, that as a matter of uniform policy and practice,
17     Defendants continue to fail to pay members of the Waiting Time Class all earned wages at the
18     end of employment in a timely manner pursuant to the requirements of Labor Code §§ 201-203.
19     Defendants’ failure to pay all final wages was willful within the meaning of Labor Code § 203.
20            46.      Defendants’ willful failure to timely pay Plaintiff Gardiner and the members of
21     the Waiting Time Class their earned wages upon separation from employment results in a
22     continued payment of wages up to thirty (30) days from the time the wages were due. Therefore,
23     Plaintiff Gardiner and members of the Waiting Time Class are entitled to compensation pursuant
24     to Labor Code § 203, plus reasonable attorneys' fees and costs of suit.
25     III

26     III

27     III

28     III
                                                        13
                                             Class Action Complaint
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 1                                           SIXTH CAUSE OF ACTION

 2                                            UNFAIR COMPETITION
 3                                         (AGAINST ALL DEFENDANTS)
 4            47.      Plaintiffs re-allege and incorporate by reference all prior paragraphs as though
 5     fully set forth herein.
 6            48.      Defendants have engaged and continue to engage in unfair and/or unlawful

 7     business practices in California in violation of California Business & Professions Code § 17200
 8     et seq., by: (a) failing to pay Plaintiffs and members of the Minimum Wage Class at least the
 9     minimum wage for all hours actually worked; (b) failing to pay Plaintiffs and members of the
10     Overtime Class overtime wages for all overtime hours actually worked; (c) failing to pay
11     Plaintiffs and members of the Rest Period Class rest period premium wages for each rest period
12     violation; (d) failing to issue compliant wage statements to Plaintiffs and members of the Wage
13     Statement Class; and (e) failing to pay Plaintiff Gardiner and members of the Waiting Time
14     Class all earned wages at the time of their separation.
15            49.      Defendants’ utilization of these unfair and/or unlawful business practices
16     deprived Plaintiffs and continues to deprive members of the Classes of compensation to which
17     they are legally entitled, constitutes unfair and/or unlawful competition, and provides an unfair
18     advantage over Defendants’ competitors who have been and/or are currently employing workers

19     and attempting to do so in honest compliance with applicable wage and hour laws.
20            50.      Because Plaintiffs are victims of Defendants’ unfair and/or unlawful conduct
21     alleged herein, Plaintiffs, for themselves and on behalf of the members of the Classes, seek full
22     restitution of monies, as necessary and according to proof, to restore any and all monies

23     withheld, acquired and/or converted by the Defendants pursuant to Business & Professions Code
24     §§ 17203 and 17208.
25            51.      The acts complained of herein occurred within the last four years immediately
26     preceding the filing of the Complaint in this action.
27            52.      Plaintiffs were compelled to retain the services of counsel to file this court action

28     to protect their interests and those of the Classes, to obtain restitution, and to enforce important
                                                        14
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 1     rights affecting the public interest. Plaintiffs thereby incurred the financial burden of attorneys’
2      fees and costs, which they are entitled to recover under Code of Civil Procedure § 1021.5.
 3                                                  PRAYER
4              WHEREFORE, Plaintiffs pray for judgment for themselves and for all others on whose

 5     behalf this suit is brought against Defendants, jointly and severally, as follows:
 6                 1. For an order certifying the proposed Classes;
 7                2. For an order appointing Plaintiffs as representatives of the Classes;
 8                3. For an order appointing Counsel for Plaintiffs as Counsel for the Classes;
 9                4. Upon the First Cause of Action, for compensatory, consequential, general and
10     special damages according to proof pursuant to Labor Code §§ 204, 226.2, 510, 558, 1194, and
11     1198;
12                 5. Upon the Second Cause of Action, for payment of minimum wages, liquidated
13     damages, and penalties according to proof pursuant to Labor Code §§ 226.2, 1182.12, 1194,
14     1194.2 and 1197;
15                 6. Upon the Third Cause of Action, for compensatory, consequential, general and

16     special damages according to proof pursuant to Labor Code §§ 226.7, 516, and 558;
17                 7. Upon the Fourth Cause of Action, for statutory wage statement penalties pursuant

18     to Labor Code §§ 226 and 226.2;
19                 8. Upon the Fifth Cause of Action, for statutory waiting time penalties pursuant to

20     Labor Code §§201- 203;
21                 9. Upon the Sixth Cause of Action, for restitution to Plaintiffs and members of the
22     Classes of all money and/or property unlawfully acquired by Defendants by means of any acts or

23     practices declared by this Court to be in violation of Business & Professions Code § 17200 et

24     seq.;
25                 10. Prejudgment interest on all due and unpaid wages pursuant to California Labor

26     Code § 218.6 and Civil Code §§ 3287 and 3289;

27                 11. On all causes of action, for attorneys’ fees and costs as provided by Labor Code

28     §§ 226, 1194 et seq., and Code of Civil Procedure § 1021.5; and
                                                         15
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             ;!



     1                      12. For such other and further relief the Court may deem just and proper.
 2
                                                               Respectfully submitted,
 3                Dated: September 8, 2017                     HAINES LAW GROUP, APC

 4
                                                       By:
 5                                                             Paul K. Haines
                                                               Attorneys for Plaintiffs
 6
 7
                                                  DEMAND FOR JURY TRIAL
 8
                        Plaintiffs hereby demands a jury trial with respect to all issues triable by jury.
 9
10
                  Dated: September 8, 2017                     HAINES LAW GROUP, APC
11
12                                                     By:
13                                                             Paul K. Haines
         i                                                     Attorneys for Plaintiffs
14
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                                                                16
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 7   Attorneys for Plaintiffs
     ADAM GARDINER, ALDWIN MARQUIS,
 8   and JOSEPH GRECO

 9
                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
10
                                         COUNTY OF ORANGE
11
12
     ADAM GARDINER and, ALDWIN MARQUIS, Case No. 30-2017-00942890-CU-OE-CXC
13   as individuals and on behalf of all others sin|teriy
                                                          FIRST AMENDED CLASS AND
     situated,                                            REPRESENTATIVE ACTION
14                                                        COMPLAINT:
15                         Plaintiffs,               (1) OVERTIME WAGE
                                                         VIOLATIONS (LABOR CODE
16         vs.;                                          §§ 204,226.2,510,558,1194,
                                                         1198);
17
     TSYS BUSINESS SOLUTIONS, LLC, fk/a             (2) MINIMUM WAGE
18   TRANSFIRST, LLC, a Delaware limited liability1     VIOLATIONS (LABOR CODE
     company; TOTAL SYSTEM SERVICES, INC., a            §§ 226.2,1182.12,1194,1194.2,
19                                                      1197);
     Georgia corporation; and DOES 1 through 100,
20                                                  (3) REST PERIOD VIOLATIONS
                                                        (LABOR CODE §§ 226.7,516,
                             Defendants,                558);
21                                               3



                                                     (4) WAGE STATEMENT
22                                                       VIOLATIONS (LABOR CODE
                                                         § 226 et seq., 226.2);
23
                                                     (5) WAITING TIME PENALTIES
24                                                       (LABOR CODE §§ 201-203);
25                                                   (6) UNFAIR COMPETITION
                                                         (BUS & PROF CODE § 17200
26                                                       et seq.); and

27                                                   (7) CIVIL PENALTIES UNDER
                                                         THE PRIVATE ATTORNEYS
28
                                                1
                     First Amended Class and Representative Action Complaint

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                                                                                                               r


                                                                    GENERAL ACT (LABOR
  1                                                                 CODE § 2698 et seq.).
  2                                                            DEMAND FOR JURY TRIAL
                                                               UNLIMITED CIVIL CASE
  3

  4
                  Plaintiffs Adam Gardiner, Aldwin Marquis, and Joseph Greco (collectively “Plaintiffs”),
  5
          on behalf of themselves and all others similarly situated, hereby bring this First Amended Class
  6
          and Representative Action Complaint against Defendants TSYS Business Solutions, LLC,
  7
          formerly known as TransFirst, LLC, a Delaware limited liability company; Total System
  8
          Services, Inc., a Georgia corporation; and DOES 1 to 100 (collectively “Defendants”), inclusive,
  9
          and on information and belief alleges as follows:
 10
                                                   JURISDICTION
 11
                  1.     Plaintiffs, on behalf of themselves and all others similarly situated, hereby bring
 12
          this class action for recovery of unpaid wages and penalties under California Labor Code §§
 13
          201-204,226, 226.2,226.7, 510, 516, 558, 1182.12, 1194,1194.2,1197,1198, and 2698 etseq.;
 14
          California Business & Professions Code §17200 et. seq. and Industrial Welfare Commission
 15
          Wage Order No. 4 (“Wage Order 4”), in addition to seeking declaratory relief and restitution.
 16
          This class action is brought pursuant to California Code of Civil Procedure 382. This Court has
 17
          jurisdiction over Defendants’ violations of the California Labor Code because the amount in
 18
          controversy exceeds this Court's jurisdictional minimum.
 19
      :                                                VENUE
20
                 2.      Venue as to each Defendant is proper in this judicial district pursuant to
21
          California Code of Civil Procedure §§ 395(a) and 395.5, as at least some of the acts and
22
      : omissions complained of herein occurred in the County of Orange. Further, at all times relevant
23
          herein Plaintiffs were (or are) employed by Defendants within the County of Orange.
24
                                                      PARTIES
25
                 3.      Plaintiffs are individuals over the age of eighteen (18). At all relevant times
26
          herein, Plaintiffs were, and currently are, California residents. During the four years
27
          immediately preceding the filing of the Complaint in this action and within the statute of
28
                                                       2
                             First Amended Class and Representative Action Complaint .

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                                                                                                            i;




  1   limitations periods applicable to each cause of action pled herein, Plaintiffs were employed by
  2   Defendants as non-exempt employees. Plaintiffs were, and are, victims of Defendants’ policies
  3   and/or practices complained of herein, lost money and/or property, and have been deprived of
  4   the rights guaranteed to them by California Labor Code §§ 201-203,226, 226.2,226.7, 510,
  5   516, 558, 1182.12,1194,1194.2,1197,1198, California Business & Professions Code § 17200
  6   et seq. (“Unfair Competition Law”), and Wage Order 4, which sets employment standards for
  7   “professional, technical, clerical, mechanical and similar occupations,” including salespersons.
  8           4.     Plaintiffs are informed and believe, and based thereon allege, that during the four
  9   years preceding the filing of the Complaint and continuing to the present, Defendants did (and
 10   do) business by operating a company that provides credit card processing, debit card processing,
 11   and other payment processing services for retailers and merchants within the County of Orange,
 12   and employed Plaintiffs and other, similarly-situated hourly non-exempt employees within the
.13   County of Orange and, therefore, were (and are) doing business in the County of Orange and the
 14   State of California.
 15          5.      Founded in 1995, Defendant TSYS Business Solutions, LLC, formerly known as
 16   TransFirst, LLC (“TransFirst”), is one of the largest providers of secure payment processing in
 17   .the United States, serving more than 235,000 merchants, financial institutions, and sales partners
 18   and employing over 1,000 employees nationwide. TransFirst maintains a facility in Cypress,
 19   California, as well as other offices nationwide. In or around 2016, Defendant Total System
20    Services, Inc. (“TSYS”) acquired TransFirst.
21           6.      Plaintiffs are informed and believe, and thereon allege, that at all times mentioned
22    herein, Defendants were licensed to do business in California and the County of Orange, and
23    were the employers of Plaintiffs and the Classes (as defined in Paragraph 16).
24           7.      Plaintiffs do not know the true names, capacities, relationships and/or the extent
25    |of participation of Defendants DOES 1 through 100, inclusive, in the conduct alleged in this
26    |Complaint. For that reason, Defendants DOES 1 through 100, inclusive, are sued under such
27    fictitious names. Plaintiffs pray for leave to amend this Complaint when the true names and
28    capacities are known. Plaintiffs are informed and believe, and based thereon allege, that each
                                                   3
                         First Amended Class and Representative Action Complaint

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   1   fictitiously named defendant is and was responsible in some way for the alleged wage and hour
   2   violations and other wrongful conduct which subjected Plaintiffs and the Classes, as defined
   3   below, to the illegal employment practices, wrongs and injuries complained of herein. All
   4   references in this Complaint to “Defendants” shall be deemed to include all DOE Defendants.
                                                                                                           I.
   5           8.     At all times herein mentioned, each of said Defendants participated in the doing
   6   of the acts hereinafter alleged to have been done by the named Defendants; and furthermore, the
   7   Defendants, and each of them, were the agents, servants, and employees of each and every one of
   8   the other Defendants, as well as the agents of all Defendants, and at all times herein mentioned
   9   were acting within the course and scope of said agency and employment. Defendants, and each
  10   of them, approved of, condoned, and/or otherwise ratified each and every one of the acts or
  11   omissions complained of herein.
  12           9.     At all times mentioned herein, Defendants, and each of them, were members of
  13   and engaged in a joint venture, partnership, and common enterprise, and acting within the course
  14   and scope of and in pursuance of said joint venture, partnership, and common enterprise. Further,
  15   Plaintiffs allege that all Defendants were joint employers for all purposes of Plaintiffs and all
  16   members of the Classes (as defined in Paragraph 16).
. 17                              GENERAL FACTUAL ALLEGATIONS
  18           10.    Plaintiff Aldwin Marquis has been employed by Defendants since approximately
  19   June 2012 as a non-exempt Account executive at Defendants’ facility in Cypress, California, and
 20    is still currently employed by Defendants.
 21            11.   Plaintiff Adam Gardiner was employed by Defendants during the putative class
 22 | period as a non-exempt sales representative at Defendants’ Cypress, California facility, and his

 23    employment with Defendants ended in approximately January 2015.
 24           12.     Plaintiff Joseph Greco was employed by Defendants during the putative class
 25    period as a non-exempt sales representative at Defendants’ Cypress, California facility.
 26           13.     During Plaintiffs’ employment with Defendants, Plaintiffs were paid on a
 27 : commission basis, whereby Plaintiffs were paid commissions based on services and/or
 28 j equipment that Plaintiffs sold to Defendants’ customers. However, Plaintiffs were not separately
                                                    4
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  1   compensated for time spent working on tasks which did not generate commissions, including for

  2   example, time spent attending meetings, and working on other accounts for which they were not

  3   earning commissions, (i.e., non-productive time), thereby resulting in Plaintiffs not being paid at

  4   least the minimum wage for all hours worked. In addition, on those occasions where Plaintiffs

  5   worked over eight hours in a workday and/or over 40 hours in a workweek, Defendants’ failure

  6   to compensate Plaintiffs separately for all non-productive time resulted in Plaintiffs not being

  7   paid all overtime compensation owed.

  8            14.   Plaintiffs worked shifts in excess of 3.5 hours, and were never provided with a
  9   paid rest period for every 4 hour period worked, or major fraction thereof, because Defendants’

 10   commission-based compensation plan(s) that do not separately compensate for every hour

 11   worked (e.g., recoverable draw based plans), failed to separately compensate Plaintiffs for
 12   required rest periods. See Bluford v. Safeway Inc., 216 Cal. App. 4th 864 (2013) (holding that
 13   where employees are paid on an “activity-based compensation system,” employers must pay
 14   employees separately for rest periods, and finding that “[t]here is no dispute that Safeway’s

15    activity-based compensation system did not separately compensate drivers for their rest

16    periods.”); Vaquero v. Stoneledge Furniture LLC, 9 Cal.App.5th 98, 110-11 (holding that the

 17   requirement to pay separately for rest periods “applies equally to commissioned salespersons”).

18    As a result, Plaintiffs were not paid all minimum wages and/or overtime wages owed. In

19    addition, despite failing to authorize and permit Plaintiffs to take paid 10-minute rest periods,

20    Defendants failed to pay Plaintiffs the premium wages they were owed under Labor Code §

21    226.7.
22             15.   Asa result of Defendants’ failure to pay all minimum wages, overtime wages, and

23    rest period premium wages, Defendants maintained inaccurate payroll records, issued inaccurate

24    wage statements, and did not pay Plaintiff Gardiner and other former non-exempt employees all

25 : wages owed at the time of their separation from employment with Defendants.
26                      CLASS AND COLLECTIVE ACTION ALLEGATIONS

27             16.   Class Definitions: Plaintiffs bring this action on behalf of themselves and the
28    following Classes pursuant to Section 382 of the Code of Civil Procedure:
                                                   5
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  1          a.      The Minimum Wage Class consists of; (i) all of TransFirst’s current and former j

  2   non-exempt sales representatives, Account Executives, and similar job titles or job duties, in

  3   California who were paid pursuant to Defendants’ commission-based compensation plan(s) that.!

  4   do not separately compensate for every hour worked (e.g., recoverable draw based plans)1; and

  5 : (ii) all of TSYS’ current and former non-exempt sales representatives, Account Executives, and

  6   similar job titles or job duties, in California who were paid pursuant to Defendants’ commission-

  7   based compensation plan(s) that do not separately compensate for every hour worked (e.g.,

  8   recoverable draw based plans), at any time from four years preceding the filing of the original

  9   Complaint through the present date.

 10          b.      The Overtime Class consists of (i) all of TransFirst’s current and former non­

 11   exempt sales representatives, Account Executives, and similar job titles or job duties, in

 12   California who were paid pursuant to Defendants’ commission-based compensation plan(s) that

 13   do not separately compensate for every horn worked (e.g., recoverable draw based plans); and

 14   (ii) all of TSYS’ current and former non-exempt sales representatives, Account Executives, and

 15   similar job titles or job duties, in California who were paid pursuant to Defendants’ commission-

 16   based compensation plan(s) that do not separately compensate for every hour worked (e.g.,

 17   recoverable draw based plans), at any time from four years preceding the filing of the original

 18   Complaint through the present date.

19           c.      The Rest Period Class consists of all Defendants’ current and former non­

20    exempt sales representatives, Account Executives, and similar job titles or job duties, in

21    California who were paid pursuant to Defendants’ commission-based compensation plan(s) that

22    do not separately compensate for every hour worked (e.g., recoverable draw based plans), and

23    worked at least one shift in excess of 3.5 hours, during the four years immediately preceding the

24    filing of the original Complaint through the present date.

25
26
      l
       With respect to those individuals who participated in a prior class action settlement entitled,
27    Benjamin Nable v. TransFirst, LLC, et al, United States District Court, Central District of
      California Case No. 8:15-cv-00891-DOC-JCG, their minimum wage and overtime claims would
28
      be released against TransFirst through May 23,2016.
                                                      6
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                                                                                                           ■i:




 1           d.     The Wage Statement Class consists of: (i) all members of the Minimum Wage
 2   Class, Overtime Class, and/or Rest Period Class, who received a wage statement during the one
 3   year immediately preceding the filing of the original Complaint through the present.
 4           e.     The                        consists of all formerly employed members of the
 5   Minimum Wage Class, Overtime Class, and/or Rest Period Class, who separated their
 6   employment from Defendants during the three years immediately preceding the filing of the
 7   original Complaint through the present date.
 8           17.    Numerosity/Ascertainability: The members of the Classes are so numerous that
 9   joinder of all members would be unfeasible and not practicable. The membership of the classes
10   and subclasses are unknown to Plaintiffs at this time; however, it is estimated that the Classes
                                                                                                           :
11   number greater than one-hundred (100) individuals as to each Class. The identity of such
12   membership is readily ascertainable via inspection of Defendants’ employment records.
13           18.    Common Questions of Law and Fact Predominate/Well-Defined Community
14   of Interest: There are common questions of law and fact as to Plaintiffs and all other similarly
15 ; situated employees, which predominate over questions affecting only individual members
16   including, without limitation to:
17          l.      Whether Defendants violated the applicable Labor Code provisions including, but!
18   not limited to § § 226.2, 510 and 1194 by requiring overtime work and not paying for said work :
19   according to the overtime laws of the State of California;
20          li.     Whether Defendants violated the applicable Labor Code provisions including, but
21   not limited to §§ 226.2,1182.12, 1194,1194.2 andl 197 by failing to pay all members of the
22   Minimum Wage Class at least the minimum wage for all hours worked;
23          iii.    Whether Defendants’ policies and/or practices for the timing and amount of
24   payment of final wages to members of the Waiting Time Class at the time of separation from
25   employment were unlawful;
26          iv.     Whether Defendants’ rest period policies and/or practices violated California law;
27          v.      Whether Defendants’ record keeping policies and practices were compliant with
28   California law; and
                                                  7
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  1            vi.       Whether the wage statements issued by Defendants were compliant with
  2    California law.
  3            19.       Predominance of Common Questions: Common questions of law and fact
  4    predominate over questions that affect only individual members of the Classes. The common
  5    questions of law set forth above are numerous and substantial and stem from Defendants’
  6    policies and/or practices applicable to each individual class member. As such, the common
  7    questions predominate over individual questions concerning each individual class member’s
  8    showing as to his or her eligibility for recovery or as to the amount of his or her damages.
  9            20.    Typicality: Plaintiffs’ claims are typical of the claims of the Classes because
 10    Plaintiffs were employed by Defendants as non-exempt, commission-based employees in
 11    California during the statutes of limitation applicable to each cause of action pled in the
 12    Complaint in this action. As alleged herein, Plaintiffs, like the members of the Classes, were
 13    deprived of all minimum and overtime wages, were not provided with all legally complaint rest
 14    periods, received non-compliant wage statements, and (in the case of Plaintiff Gardiner) did not
 15    receive all wages owed at the time of separation.
16            21.     Adequacy of Representation: Plaintiffs are fully prepared to take all necessary
17     steps to represent fairly and adequately the interests of the members of the Classes. Moreover,
18     Plaintiffs’ attorneys are ready, willing and able to fully and adequately represent the members of
19     the Classes and Plaintiffs. Plaintiffs’ attorneys have prosecuted and defended numerous wage-
20     and-hour class actions in state and federal courts in the past and are committed to vigorously
21     prosecuting this action on behalf of the members of the classes.
22            22.     Superiority: The California Labor Code is broadly remedial in nature and serves
23     an important public interest in establishing minimum working conditions and standards in
24
                                                                                                            f
       California. These laws and labor standards protect the average working employee from
25     exploitation by employers who have the responsibility to follow the laws and who may seek to
26 I take advantage of superior economic and bargaining power in setting onerous terms and
   3
27 1 conditions of employment. The nature of this action and the format of laws available to
28 ■ Plaintiffs and members of the Classes make the class action format a particularly efficient and
                                                      8
                            First Amended Class and Representative Action Complaint

                                                                                                        Exhibit B
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 1   appropriate procedure to redress the violations alleged herein. If each employee were required to
 2   file an individual lawsuit, Defendants would necessarily gain an unconscionable advantage since
 3   they would be able to exploit and overwhelm the limited resources of each individual plaintiff
 4   with their vastly superior financial and legal resources. Moreover, requiring each member of the!
 5   Classes to pursue an individual remedy would also discourage the assertion of lawful claims by
 6   employees who would be disinclined to file an action against their former and/or current
 7   employer for real and justifiable fear of retaliation and permanent damages to their careers at
 8   subsequent employment. Further, the prosecution of separate actions by the individual class
 9   members, even if possible, would create a substantial risk of inconsistent or varying verdicts or
10   adjudications with respect to the individual class members against Defendants herein; and which
11   would establish potentially incompatible standards of conduct for Defendants; and/or legal
12   determinations with respect to individual class members which would, as a practical matter, be
13   dispositive of the interest of the other class members not parties to adjudications or which would
14   ! substantially impair or impede the ability of the class members to protect their interests. Further,
15   the claims of the individual members of the class are not sufficiently large to warrant vigorous
16   individual prosecution considering all of the concomitant costs and expenses attending thereto.
17           23.     As such, each of the Classes identified in Paragraph 16 is maintainable as a Class i
18   under Section 382 of the Code of Civil Procedure.
19                                      FIRST CAUSE OF ACTION
20                                  OVERTIME WAGE VIOLATIONS
21                                   (AGAINST ALL DEFENDANTS)
22          24.      Plaintiffs re-allege and incorporate by reference all prior paragraphs as though
23   fully set forth herein.
24          25.      This cause of action is brought on behalf of the Overtime Class pursuant to Labor!
25   Code §§ 204,226.2, 510, 558,1194, and 1198, which provide that non-exempt employees are
26   entitled to all overtime wages and compensation for overtime hours worked, including for rest
27   periods and other non-productive time, and provide a private right of action for the failure to payj
28   all overtime compensation for overtime work performed.
                                                   9                                                          I
                         First Amended Class and Representative Action Complaint

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  1           26.      At all times relevant herein, Defendants were required to properly compensate
  2   non-exempt commissioned sales representatives, including Plaintiffs and members of the
  3   Overtime Class, for all overtime hours worked pursuant to California Labor Code § 1194 and
  4 ; Wage Order 4. Wage Order 4, § 3 requires an employer to pay an employee “one and one-half

  5   (1%) times the employee’s regular rate of pay” for work in excess of 8 hours per work day antfew
  6   in excess of 40 hours of work in the workweek. Wage Order 4, § 3 also requires an employer to
  7   pay an employee double the employee’s regular rate of pay for work in excess of 12 hours each
  8   work day and/or for work in excess of 8 hours on the seventh consecutive day of work in the
  9   workweek.
 10          27.      Plaintiffs are informed and believe, and based thereon allege, that Defendants
 11   I caused Plaintiffs and members of the Overtime Class to work overtime hours, but failed to folly
 12   (compensate Plaintiffs or members of the Overtime Class at one and a halftimes their regular rate
 13   of pay for such hours due to their policy/practice of not compensating commissioned sales
 14   representatives separately for rest periods or other non-productive time.
 15          28.      Defendants’ policy and practice of requiring overtime work and not paying at the
 16   proper overtime rates for all overtime work violates California Labor Code §§ 204,226.2, 510,
 17   558,1194, and 1198, and Wage Order 4.
 18          29.      The foregoing policies and practices are unlawful and create an entitlement to
 19   recovery by Plaintiffs and members of the Overtime Class in a civil action for the unpaid amount
20    of overtime premiums owing, including interest thereon, statutory penalties, civil penalties,
21    attorney’s fees, and costs of suit according to California Labor Code §§ 204,226.2, 510, 558,
22    1194,1198, and Code of Civil Procedure § 1021.5.
23                                     SECOND CAUSE OF ACTION
24                                   MINIMUM WAGE VIOLATIONS
25                                    (AGAINST ALL DEFENDANTS)
26            30.     Plaintiffs re-allege and incorporate by reference all prior paragraphs as though
27    folly set forth herein.
28
                                                    10
                          First Amended Class and Representative Action Complaint

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     1          31.      Wage Order 4, § 4 and California Labor Code §§ 226.2,1197 and 1182.12
 2       establish the right of employees to be paid minimum wages for all hours worked, in amounts set i
 3       by state law, including for rest periods and other non-productive time. Labor Code §§ 1194(a) I
 4       and 1194.2(a) provide that an employee who has not been paid the legal minimum wage as
 5       required by Labor Code § 1197 may recover the unpaid balance together with attorneys’ fees and
 6       costs of suit, as well as liquidated damages in an amount equal to the unpaid wages and interest
 7       accrued thereon.
 8              32.     At all relevant times herein, Defendants failed to conform their pay practices to '■
 9       the requirements of the law. This unlawful conduct includes, but is not limited to, Defendants’ j
10       uniform commission compensation structure for members of the. Minimum Wage Class, which
11       resulted in these individuals not being paid separately for rest periods or other non-productive
12       time. Accordingly, Plaintiffs and members of the Minimum Wage Class were not compensated t
                                                                                                                   1
13       for all hours worked including, but not limited to, all hours they were subject to the control of
14       Defendants and/or suffered or permitted to work under the California Labor Code and Wage
15       Order 4.
16             33.      Defendants’ policy and practice of not paying all minimum wages violates
17       California Labor Code §§ 204, 226.2, 558,1182.12, 1197.1, 1198, and Wage Order 4.
18             34.      Such a practice and uniform administration of corporate policy regarding illegal
19       employee compensation is unlawful and creates an entitlement to recoveiy by Plaintiffs and
20       members of the Minimum Wage Class in a civil action for the unpaid amount of minimum
21       wages, liquidated damages, including interest thereon, statutory penalties, attorneys’ fees, and
22       costs of suit according to California Labor Code §§ 204,226.2, 558,1194 et seq., 1194.2,1198,
23       and Code of Civil Procedure § 1021.5.
24             35.      Asa consequence of Defendants’ non-payment of minimum wages, Plaintiffs and
25       members of the Minimum Wage Class seek penalties pursuant to Wage Order 4, § 20(A) and                1
26       California Labor Code § 1199; interest pursuant to California Labor Code §§ 218.6 and 1194 and
27       Civil Code §§ 3287 and 3289; liquidated damages pursuant to California Labor Code § 1194.2;
28       and attorneys’ fees and costs of suit pursuant to California Labor Code §1194 et seq.
                                                      11
                            First Amended Class and Representative Action Complaint

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  1                                     THIRD CAUSE OF ACTION
 2                                     REST PERIOD VIOLATIONS
 3                                    (AGAINST ALL DEFENDANTS)
 4             36.    Plaintiffs re-allege and incorporate by reference all prior paragraphs as though
                                                                                                           j:
 5    fully set forth herein.
 6             37.    Wage Order 4, § 12 apd California Labor Code §§ 226.7, 516 and 558 establish
 7    the right of employees to be authorized and permitted to take a paid rest period of at least ten
 8    (10) minutes for each four (4) hour period worked, or major fraction thereof.
 9             38.    Defendants failed to separately compensate Plaintiffs and members of the Rest
10    Period Class for each rest period to which they were entitled while working on a commission
11    compensation plan, and therefore failed to authorize and permit paid rest periods as required by
12    law.
13             39.    The foregoing violations create an entitlement to recovery by Plaintiffs and
14    members of the Rest Period Class in a civil action for the unpaid amount of rest period premiums
15    owing, including interest thereon, statutory penalties, attorney’s fees, and costs of suit pursuant i
16    to California Labor Code §§ 226.7, 516, 558, and Civil Code §§ 3287(b) and 3289.
17                                    FOURTH CAUSE OF ACTION
18                                 WAGE STATEMENT VIOLATIONS
19                                    (AGAINST ALL DEFENDANTS)
20             40.    Plaintiffs re-allege and incorporate by reference all prior paragraphs as though
21    folly set forth herein.
22             41.    Plaintiffs are informed and believe, and based thereon allege, that Defendants
23 | knowingly and intentionally, as a matter of uniform policy and practice, failed to fomish
24 l Plaintiffs and members of the Wage Statement Class with accurate and complete wage

25    statements regarding their total regular hours worked, total overtime hours worked, total rest and
26    recovery periods, total non-productive time worked, total rest period premium wages earned,

27    total gross wages earned, and total net wages earned, in violation of Labor Code §§ 226 and
28    226.2.
                                                    12
                          First Amended Class and Representative Action Complaint

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  1          42.      Defendants’ failure to furnish Plaintiffs and members of the Wage Statement
  2   Class with complete and accurate itemized wage statements resulted in actual injury, as said
  3   failures led to, among other things, the non-payment of all their minimum and overtime wages
  4   and rest period premiums wages, and deprived them of the information necessary to identify the
  5   discrepancies in Defendants’ reported data.
  6          43.      Defendants’ failures create an entitlement to recovery by Plaintiffs and members
  7   of the Wage Statement Class in a civil action for all damages and/or penalties pursuant to Labor
  8   Code §§ 226 and 226.2, including statutory penalties, reasonable attorney’s fees, and costs of suit
  9   according to California Labor Code §§ 226 and 226.2.
 10                                     FIFTH CAUSE OF ACTION
11                                     WAITING TIME PENALTIES
12                                    (AGAINST ALL DEFENDANTS)
13           44.      Plaintiffs re-allege and incorporate by reference all prior paragraphs as though
14    fully set forth herein.
15           45.      This cause of action is brought pursuant to Labor Code § § 201 -203 which require
16    an employer to pay all wages earned immediately at the time of termination of employment in
17    the event the employer discharges the employee or the employee provides at least 72 hours of
18    notice of his/her intent to quit. In the event the employee provides less than 72 hours of notice of
19    his/her intent to quit, said employee’s wages become due and payable not later than 72 hours
20    upon said employee’s last date of employment.
21          46.       Plaintiffs are informed and believe, and based thereon allege, that Defendants
22    failed to timely pay Plaintiff Gardiner, Plaintiff Greco, and members of the Waiting Time Class
23    all final wages due to them at the time of their separation which includes, among other things,
24    underpaid overtime and minimum wages and rest period premium wages. Further, Plaintiffs are
25    informed and believe, and based thereon allege, that as a matter of uniform policy and practice,
26    Defendants continue to fail to pay members of the Waiting Time Class all earned wages at the
27    end of employment in a timely manner pursuant to the requirements of Labor Code §§201-203.
28    Defendants’ failure to pay all final wages was willful within the meaning of Labor Code § 203.
                                                    13
                          First Amended Class and Representative Action Complaint

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 1          47.      Defendants’ willful failure to timely pay Plaintiff Gardiner, Plaintiff Greco and        :
 2   the members of the Waiting Time Class their earned wages upon separation from employment
 3   results in a continued payment of wages up to thirty (30) days from the time the wages were due.
 4   Therefore, Plaintiff Gardiner and members of the Waiting Time Class are entitled to
 5   compensation pursuant to Labor Code § 203, plus reasonable attorneys' fees and costs of suit
 6                                     SIXTH CAUSE OF ACTION
 7                                       UNFAIR COMPETITION
 8                                   (AGAINST ALL DEFENDANTS)
 9          48.      Plaintiffs re-allege and incorporate by reference all prior paragraphs as though
10   fully set forth herein.
11          49.      Defendants have engaged and continue to engage in unfair and/or unlawful
12   business practices in California in violation of California Business & Professions Code § 17200
13   et seq., by: (a) failing to pay Plaintiffs and members of the Minimum Wage Class at least the
14   minimum wage for all hours actually worked; (b) failing to pay Plaintiffs and members of the
15   Overtime Class overtime wages for all overtime hours actually worked; (c) failing to pay
16   Plaintiffs and members of the Rest Period Class rest period premium wages for each rest period
17. violation; (d) failing to issue compliant wage statements to Plaintiffs and members of the Wage
18   Statement Class; and (e) failing to pay Plaintiff Gardiner and members of the Waiting Time
19   Class all earned wages at the time of their separation.
20          50.      Defendants’ utilization of these unfair and/or unlawful business practices
21   deprived Plaintiffs and continues to deprive members of the Classes of compensation to which
22   they are legally entitled, constitutes unfair and/or unlawful competition, and provides an unfair
23   advantage over Defendants’ competitors who have been and/or are currently employing workers
24   and attempting to do so in honest compliance with applicable wage and hour laws.
25         51.      Because Plaintiffs are victims of Defendants’ unfair and/or unlawful conduct
26   alleged herein, Plaintiffs, for themselves and on behalf of the members of the Classes, seek full
27   restitution of monies, as necessary and according to proof, to restore any and all monies
28
                                                   14
                         First Amended Class and Representative Action Complaint                          1



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                                                                                                                f
  1    withheld, acquired and/or converted by the Defendants pursuant to Business & Professions Code
  2    §§ 17203 and 17208.

  3           52.       The acts complained of herein occurred within the last four years immediately
  4    preceding the filing of the Complaint in this action.
  5           53.       Plaintiffs were compelled to retain the services of counsel to file this court action
  6    to protect their interests and those of the Classes, to obtain restitution, and to enforce important
  7    rights affecting the public interest. Plaintiffs thereby incurred the financial burden of attorneys’
  8    fees and costs, which they are entitled to recover under Code of Civil Procedure § 1021.5.
 9                                      SEVENTH CAUSE OF ACTION
10                                 PRIVATE ATTORNEYS GENERAL ACT
11                                      (AGAINST ALL DEFENDANTS)
12           54.       Plaintiff Aldwin Marquis re-alleges and incorporates by reference all prior
13     paragraphs as though fully set forth herein.
14           55.       Defendants have committed several Labor Code violations against Plaintiff
15 :! Aldwin Marquis, members of the Classes, and other similarly aggrieved employees. Plaintiff

16     Aldwin Marquis, an “aggrieved employee” within the meaning of Labor Code § 2698 et seq.,
17     acting on behalf of himself and other similarly aggrieved employees, brings this representative
18     action against Defendants to recover the civil penalties due to himself, the members of the
19     Classes, other similarly aggrieved employees, and the State of California according to proof
20     pursuant to Labor Code § 558 and § 2699 (a) and (f) including, but not limited to: (1) pursuant to
21 ; Labor Code § 558(a), $50.00 for each initial violation of the Labor Code sections and/or Wage
22     Order provisions referenced in Labor Code § 558(a) and $100.00 for each subsequent violation
23     per employee per pay period, plus an amount sufficient to recover the unpaid wages; and (2)
24     pursuant to Labor Code § 2699(f)(2), $100.00 for each initial violation and $200 for each
25     subsequent violation per employee per pay period for the following Labor Code violations:
26            a. Failing to pay Plaintiff Aldwin Marquis, the Overtime Class, and other similarly
27                  aggrieved employees all earned overtime compensation in violation of Labor Code §§
28 i                226.2, 510, 558,1194, and 1198;
                                                     15
                           First Amended Class and Representative Action Complaint

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  1            b. Failing to pay minimum wages for all hours worked to Plaintiff Aldwin Marquis, the

  2                 Minimum Wage Class, and other similarly aggrieved employees in violation of Laboi

  3                 Code §§ 226.2, 558,1182.12,1194,1194.2,1197, and 1198;

  4            c. Failing to authorize and permit all legally required rest periods, and failure to pay res!

  5                 period premium wages, to Plaintiff Aldwin Marquis, the Rest Period Class, and other
                    similarly aggrieved employees at the regular rate of compensation in violation of Labdi
  6
                    Code §§ 226.7, 512, 558, and 1198;
  7
               d. Failing to furnish Plaintiff Aldwin Marquis, the Wage Statement Class, and other
  8
                    similarly aggrieved employees with complete, accurate, itemized wage statements in
 9
                    violation of Labor Code §§ 226 and 226.2;
 10
               e. Failing to pay non-exempt employees all earned wages at least twice during each
11
                    calendar month in violation of Labor Code § 204; and
12|
               f. Failing to maintain accurate records on behalf of Plaintiff Aldwin Marquis and bth#t
13 I
                    similarly aggrieved employees in violation of Labor Code §§ 558 and 1174.
14
              56.      On September 13, 2017, Plaintiff Aldwin Marquis notified Defendants via
15
       certified mail, and notified the California Labor and Workforce Development Agency
16
       (“LWDA”) via its website, of Defendants’ violations of the California Labor Code and Plaintiff §
17
       intent to bring a claim for civil penalties under California Labor Code § 2698 et seq. with respect
18
       to violations of the California Labor Code identified in Paragraph 55 (a)-(f). Now that sixty-five
19
       days have passed from Plaintiff Aldwin Marquis’ notifying Defendants and the LWDA of these
20
       violations, and the LWDA has not provided notice that it intends to investigate the violations,
21
       Plaintiff Aldwin Marquis has exhausted his administrative requirements for bringing a claim
22
       under the Private Attorneys General Act with respect to these violations.
23
              57.      Plaintiff Aldwin Marquis was compelled to retain the services of counsel to file
24
       this court action to protect his interests and the interests of other similarly aggrieved employees,
25
       and to assess and collect the civil penalties owed by Defendants. Plaintiff Aldwin Marquis has
26
       thereby incurred attorneys’ fees and costs, which he is entitled to receive under California Labor
27
       Code § 2699(g).
28
                                                     16
                           First Amended Class and Representative Action Complaint

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  1           58.      Plaintiff Aldwin Marquis was compelled to retain the services of counsel to file
  2    this court action to protect his interests and the interests of other similarly aggrieved employees,
  3   and to assess and collect the civil penalties owed by Defendants. Plaintiff Aldwin Marquis has
  4   thereby incurred attorneys’ fees and costs, which he is entitled to receive under California Labor
  5   Code § 2699(g).
  6
  7                                                  PRAYER
  8           WHEREFORE, Plaintiffs pray for judgment for themselves and for all others on whose
  9   behalf this suit is brought against Defendants, jointly and severally, as follows:
 10                 1. For an order certifying the proposed Classes;
11                  2. For an order appointing Plaintiffs as representatives of the Classes;
12                  3. For an order appointing Counsel for Plaintiffs as Counsel for the Classes;
13                  4. Upon the First Cause of Action, for compensatory, consequential, general and
14    special damages according to proof pursuant to Labor Code §§ 204, 226.2, 510, 558,1194, and
15.   1198;
16                  5. Upon the Second Cause of Action, for payment of minimum wages, liquidated
17    damages, and penalties according to proof pursuant to Labor Code §§ 226.2,1182.12,1194,
18    1194.2 and 1197;
19                  6. Upon the Third Cause of Action, for compensatory, consequential, general and
20    special damages according to proof pursuant to Labor Code §§ 226.7, 516, and 558;
21                  7. Upon the Fourth Cause of Action, for statutory wage statement penalties pursuant
22    to Labor Code §§ 226 and 226.2;
23                  8. Upon the Fifth Cause of Action, for statutory waiting time penalties pursuant to
24    Labor Code §§201-203;
25                  9. Upon the Sixth Cause of Action, for restitution to Plaintiffs and members of the
26    Classes of all money and/or property unlawfully acquired by Defendants by means of any acts or
27    practices declared by this Court to be in violation of Business & Professions Code § 17200 et
28    seq.;
                                                     17
                           First Amended Class and Representative Action Complaint

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            1                   10.   Upon the Seventh Cause of Action, for civil penalties due to Plaintiff Aidwin
         2           Marquis, other similarly aggrieved employees, and the State of California according to prooi
         3           pursuant to Labor Code §§ 558 and 2699(a) and (f) including, but not limited to: (1) $50.00 &

         4           each initial violation and $100 for each subsequent violation of Labor Code § 558 per empfejfdii
         5       per pay period plus an amount sufficient to recover the unpaid wages; and (2) $100.00 for each
         g           initial violation and $200 for each subsequent violation per employee per pay period for the
                 violations of the Labor Code Sections cited in Labor Code § 2699.5;
                                11. Prejudgment interest on all due and unpaid wages pursuant to California Labor
         8
                 Code § 218.6 and Civil Code § § 3287 and 3289;
                                12. On all causes of action, for attorneys’ fees and costs as provided by Labor Code |
        10      !:
                 §§ 226, 1194 etseq., and 2699(g); and Code of Civil Procedure § 1021.5; and
       11
                                13. For such other and further relief the Court may deem just and proper.
       12
       13                                                         Respectfully submitted,
                Dated: November 27,2017                           HAINES LAW GROUP, APC
       14
j      15                                                  By:                 /
       16                                                         Paul K. Haines
                                                                  Attorneys for Plaintiffs
       17
       18
                                                     DEMAND FOR JURY TRIAL
       19                  Plaintiffs hereby demands a jury trial with respect to all issues triable by jury.
       20

       21       Dated: November 27,2017                           HAINES LAW GROUP, APC
       22 lj

       23                                                 By:              /
                                                                  Paul K. Haines
1      24                                                         Attorneys for Plaintiffs

f      25
i
       26
I
       27 |

       28
                                                                 18
                                       First Amended Class and Representative Action Complaint




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                                             PROOF OF SERVICE
      1
                           Adam Gardiner, etal., v. TSYS Business Solutions, LLC, etal.
      2               Orange County Superior Court Case No. 30-2017-00942890-CU-OE-CXC
      3   STATE OF CALIFORNIA                     )
                                                  ) ss.
      4   COUNTY OF LOS ANGELES                   )
      5
                 I am employed in the County of Los Angeles, State of California. I am over the age of
      6   18 and not a party to the within action; my business address is [Xj 2274 East Maple Ave., El
      7   Segundo, California 90245.

      8           On November 27,2017,1 served the foregoing document(s) described as:
      9   FIRST AMENDED CLASS AND REPRESENTATIVE ACTION COMPLAINT
     10
          |on the interested party(ies) in this action as follows:
     11
          John R. Giovannone, Esq.
i    12   SEYFARTH SHAW LLP
     13   333 S. Hope Street, Suite 3900
          Los Angeles, California 90071-1406
     14   Attorneys for Defendants TSYS BUSINESS SOLUTIONS, LLC, and TOTAL SYSTEM
          SERVICES, INC.
     15
     16   |[X] (BY MAIL) I am "readily familiar" with Haines Law Group, APC’s practice of collection
           and processing correspondence for mailing. I enclosed the document(s) in a sealed envelope or
     17   package addressed to the persons at the address(es) listed above. Under the practice the
           correspondence would be deposited with the U.S. postal service on the same day with postage
     18    thereof folly prepaid at El Segundo, California in the ordinary course of business. I am aware
     19   that on motion of the party served, service is presumed invalid if postage cancellation date or
          postage date is more than one day after date of deposit for mailing in affidavit.
    20
          [XJ (STATE) I declare under penalty of perjury under the laws of the State of California that
    21
          the above is true and correct.
    22
          Executed on November 27, 2017, at El Segundo, California.                                         i
    23
    24
                                                                         Aaron Clark
    25
    26
    27
r   28

r
                                                  PROOF OF SERVICE



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                                                                                                      Page 68
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 1 i   SEYFARTH SHAW LLP
       John R. Giovannone (SBN 239366)
 2     j giovannone@seyfarth.com
       333 S. Hope Street, Suite 3900
 3     Los Angeles, California 90071                                      ELECTRONICALLY FILED
       Telephone:    (213)270-9600                                         Superior Court of California,
                                                                               County of Orange
 4     Facsimile:    (213) 270-9601
                                                                            12/28*2017 at D1:37:DD PM
 5     SEYFARTH SHAW LLP                                                    Clerk of the Superior Court
       Jinouth D. Vasquez Santos (SBN 299056)                              By Sarah Loose,Deputy Clerk
 6     jvasquezsantos@seyfarth.com
       2029 Century Park East, Suite 3500
 7     Los Angeles, California 90067-3021
       Telephone:    (310) 277-7200
 8     Facsimile:    (310)201-5219
 9     Attorneys for Defendants
       TSYS BUSINESS SOLUTIONS, LLC, f/k/a
10     TRANSFIRST, LLC; and TOTAL SYSTEM SERVICES,
       INC.
11
12
                                SUPERIOR COURT OF THE STATE OF CALIFORNIA
13
                                                  COUNTY OF ORANGE
14
15
         ADAM GARDINER and, ALDWIN MARQUIS,                     * Case No. 30-2017-00942890-CU-OE-CXC
16     i as individuals and on behalf of all others similarly
         situated,                                                        Hon. Randall J. Sherman, Dept. C24
17
                           Plaintiffs,                               DEFENDANTS’ ANSWER TO FIRST
18                                                              i!
                                                                     AMENDED CLASS AND
                V.i                                                  REPRESENTATIVE ACTION COMPLAINT
19
       TSYS BUSINESS SOLUTIONS, LLC, f/k/a                      p
20     TRANSFIRST, LLC, a Delaware limited liability
       company; TOTAL SYSTEM SERVICES, INC., a                       Complaint Filed: September 8, 2017
21     Georgia corporation; and DOES 1 through 100,
                                                                     FAC Filed:        November 27,2017
22                         Defendants.
23

24

25
26
27

28


           DEFENDANTS’ ANSWER TO FIRST AMENDED CLASS AND REPRESENTATIVE ACTION COMPLAINT
       43097623V.2
                                                                                                           Exhibit B
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 1               Defendants TSYS Business Solutions, LLC f/k/a Transfirst, LLC, and Total System Services,
 2     Inc. (“Defendants”) hereby answers Plaintiffs Adam Gardiner and Aldwin Marquis’ (collectively
 3     “Plaintiffs”) unverified First Amended Complaint (“FAC”) as set forth below:
 4                                                 GENERAL DENIAL
 5               Pursuant to the provisions of California Code of Civil Prlocedure § 431.30, Defendants deny,
 6     generally and specifically, each and every allegation, statement, matter and each purported cause of
 7     action contained in Plaintiffs’ FAC, and without limiting the generality of the foregoing, deny that
 8     Plaintiffs have been damaged in the manner or sums alleged, or in any way at all, by reason of any acts
 9     or omissions of Defendants. Defendants further deny, generally and specifically, that Plaintiffs have
10     suffered any loss of wages, overtime, penalties, compensation, benefits or restitution, or any other legal
11     or equitable relief within the jurisdiction of this Court.
12                                    AFFIRMATIVE AND OTHER DEFENSES
                                                                                                                    i
13               In further answer to Plaintiffs’ FAC, Defendants alleges the following affirmative and/or
14     additional defenses. In asserting these defenses, Defendants do not assume the burden of proof as to
15     matters that, pursuant to law, Plaintiffs or any individual they seek to represent have the burden to prove.
16                                                  FIRST DEFENSE
17                                               (Failure to State a Claim)
18               1.     Plaintiffs’ FAC, and each purported cause of action alleged therein, fails to state facts
19     sufficient to constitute any cause of action or claim for relief against Defendants.
20                                                 SECOND DEFENSE
21                                                 (Waiver and Estoppel)
22               2.     Plaintiffs’ FAC, and each purported cause of action alleged therein, is barred to the extent
23     Plaintiffs or any individual they seek to represent have waived his or right, or is barred by the doctrine of
24     estoppel, to assert the purported claims.
25                                                  THIRD DEFENSE
26                                                        (Laches)
27               3.     Plaintiffs’ FAC, and each purported cause of action alleged therein, is barred by the
                                                                                                                        !=
28     doctrine of laches because Plaintiffs exercised inexcusable delay in commencing this action.
                                                             2
            DEFENDANTS' ANSWER TO FIRST AMENDED CLASS AND REPRESENTATIVE ACTION COMPLAINT
       43097623v .2
                                                                                                       Exhibit B
                                                                                                       Page 70
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 1                                                        FOURTH DEFENSE
 2                                                           (Unclean Hands)
 3                      4.     Plaintiffs’ FAC, and each purported cause of action alleged therein, is precluded by the

 4             doctrine of unclean hands to the extent Plaintiffs or any individual they seek to represent failed to

 5             perform his or her contractual obligations or otherwise acted with unclean hands.

 6                                                          FIFTH DEFENSE
 7                                                       (Statute of Limitations)
 8                      5.     Plaintiffs’ FAC, and each purported cause of action alleged therein, is barred, in whole or

 9             in part, by the applicable statutes of limitations, including, but not limited to, the limitations contained in

10             California Labor Code sections 226, 226.7, 2698 et seq., California Code of Civil Procedure sections

11             312, 338(a), 339(1), 340, and 343, or California Business and Professions Code section 17208.

12 •                                                        SIXTH DEFENSE
13                                                             (De Minimis)
14                      6.     Plaintiffs’ FAC, and each purported cause of action alleged therein, is barred to the extent
          I;
15             it seeks compensation for time which, even if in fact worked, was de minimis and therefore is not

16             recoverable.

17                                                        SEVENTH DEFENSE
18                                                                (Offset)
19                      7.     To the extent that Plaintiffs or any individual they seek to represent are entitled to

20             damages or penalties, either or both Defendants are entitled to an offset for any payments of wages or

21             other remuneration previously provided.

22                                                         EIGHTH DEFENSE
23                            (No Knowing and Intentional Violation of California Labor Code § 226)
24                      8.    Any alleged violation of California Labor Code section 226 was not knowing and

25             intentional and therefore Plaintiffs’ requested recovery is barred.

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     !;
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                   DEFENDANTS’ ANSWER TO FIRST AMENDED CLASS AND REPRESENTATIVE ACTION COMPLAINT
               43097623V.2
                                                                                                                Exhibit B
                                                                                                                Page 71
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 1                                                     NINTH DEFENSE
 2                          (No Injury as a Result of Violation of California Labor Code § 226)
 3               9.        Plaintiffs have suffered no injury as a result of any alleged violation of Labor Code

 4     section 226 and therefore are barred from recovering penalties.

 5                                                    TENTH DEFENSE
 6                                           (Res Judicata & Collateral Estoppel)
 7               10.       Plaintiffs’ FAC, and each purported cause of action alleged therein, is barred by the

 8     doctrines of res judicata or collateral estoppel, to the extent that Plaintiffs or any individual they seek to

 9     represent have asserted such claims in any prior legal or administrative proceeding and did not prevail

10     on such claim.

11                                                  ELEVENTH DEFENSE
12                                             (Accord and Satisfaction/Release)
13               11.       Plaintiffs’ FAC, and each purported cause of action alleged therein, is barred, in whole or

14     in part, pursuant to an accord and satisfaction, or is barred to the extent that Plaintiffs or any individual

15     | they seek to represent have entered into or are otherwise bound by compromise, settlement, or release

16     agreements regarding those claims.

17                                                  TWELFTH DEFENSE
18                                               (Failure to Mitigate Damages)
19               12.       Plaintiffs are not entitled to recover the amount of damages from Defendants as alleged ip

20     the FAC, or any damages, due to their continuous failure to make reasonable efforts to mitigate or

21     minimize the damages that they have allegedly incurred.

22                                                THIRTEENTH DEFENSE
23                     (Failure to Comply with Employer Directions - California Labor Code § 2856)
24               13.      Plaintiffs’ FAC, and each purported cause of action alleged therein, is barred by

25     California Labor Code section 2856 to the extent that Plaintiffs or any individual they seek to represent

26     failed to substantially comply with all the directions of Defendants, and such failure proximately caused

27     the alleged losses.

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                                                               4
           DEFENDANTS’ ANSWER TO FIRST AMENDED CLASS AND REPRESENTATIVE ACTION COMPLAINT
       43097623V.2
                                                                                                         Exhibit B
                                                                                                         Page 72
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 1                                               FOURTEENTH DEFENSE
 2                                                 (Rest Periods Provided)
 3               14.    Plaintiffs or any individual they seek to represent are not entitled to any premium pay for

 4     missed rest periods since Defendant, at all times relevant to the FAC, provided rest periods. To the

 5     extent that Plaintiffs or any individual they seek to represent voluntarily chose not to take rest periods,

 6     Defendants have not violated California law.

 7                                                FIFTEENTH DEFENSE
 8                                            (Compensation for Rest Periods)
 9               15.   To the extent that Plaintiffs or any individual they seek to represent were paid additional

10     compensation for missed rest periods, their missed rest period claim is barred.

11                                                SIXTEENTH DEFENSE
12                                              (No Private Right of Action)
13               16.   Plaintiffs’ FAC is barred to the extent it seeks to recover civil penalties for which no

14     private right of action exists.

15                                              SEVENTEENTH DEFENSE
16                                                   (Lack of Knowledge)
17               17.   To the extent that any unlawful conduct occurred, which Defendants deny, Plaintiffs’

18     FAC, and each purported cause of action alleged therein, is barred to the extent Defendants was not

19     aware of unlawful conduct, and Plaintiffs’ claims or those of individuals they seek to represent are

20     barred or, alternatively, their relief is limited.

21                                               EIGHTEENTH DEFENSE
22                                                          (Overtime)
23               18.   To the extent that Plaintiffs or any individual they seek to represent were paid overtime

24     compensation at the legally required rate for hours worked in excess of 8 hours in a day or 40 hours in a

25     week, such overtime claims are barred.

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           DEFENDANTS’ ANSWER TO FIRST AMENDED CLASS AND REPRESENTATIVE ACTION COMPLAINT
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                                                                                                      Exhibit B
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 1                                              NINETEENTH DEFENSE
 2                                      (Good Faith Dispute - Labor Code § 203)
 3               19.    Plaintiffs or any individual they seek to represent are not entitled to California Labor

 4     Code section 203 penalties because a good faith dispute existed as to the monies allegedly owed at the

 5     jtime of the termination, such that Defendants cannot be held to have willfully failed to comply with the

 6     requirements of the applicable California Labor Code sections.

 7                                              TWENTIETH DEFENSE
 8                      (No California Business & Professions Code § 17200 etseq. Standing)
 9              20.     Plaintiffs lack standing as former employees to seek injunctive relief, civil penalties, or

10     damages under relevant portions of the California Labor Code and the California Business and

11     Professions Code section 17200 etseq. and lack standing because, inter alia, they have not suffered any

12     i injury in feet or lost money or property as a result of any unfair competition, or have an adequate

13     remedy at law.

14                                            TWENTY-FIRST DEFENSE
15                      (No Recovery Under California Business & Professions Code § 17200)
16              21.     Plaintiffs improperly seek through their cause of action under California Business &
                                                                                                                       I:
17     Professions Code section 17200 to recover monies that are not recoverable under that statute, including,

18     but not limited to their claims based on California Labor Code section 203.

19                                           TWENTY-SECOND DEFENSE
20                                      (Exhaustion of Administrative Remedies)
21              22.     Plaintiffs’ FAC, and each purported cause of action alleged therein, is barred to the extenl

22     Plaintiffs failed to exhaust their administrative remedies or other prerequisites, or failed to timely
                                                                                                                      Tr
23     exhaust those remedies or prerequisites as required by law, including but not limited to the requirements!

24     set forth in California Labor Code section 2699.3.

25                                            TWENTY-THIRD DEFENSE
26                                               (PAGA Unconstitutional)
27              23.     The California Labor Code Private Attorney General Act of 2004 (“PAGA”), California

28     Labor Code §§ 2698, et seq., both on its face and as Plaintiffs seek to apply it here, violates the
                                                             6
           DEFENDANTS’ ANSWER TO FIRST AMENDED CLASS AND REPRESENTATIVE ACTION COMPLAINT
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                                                                                                        Exhibit B
                                                                                                        Page 74
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 1     California and United States Constitutions. It constitutes an illegal delegation of the State’s executive or
 2     prosecutorial power to individual litigants without oversight by the State of California or any executive
 3     or prosecutorial agency thereof. PAGA is also unconstitutional on the basis that it violates the separation
 4     of powers doctrine and Defendant’s right to due process.
 5                                           TWENTY-FOURTH DEFENSE
 6                                              (Unconstitutional Penalty)
 7              24.    Plaintiffs or any individual they seek to represent are not entitled to any penalty under the
 8     California Labor Code to the extent that the penalty provisions of the applicable California Labor Code j
 9     sections invoked establish penalties that are unjust, arbitrary, oppressive, confiscatory, or are
10     disproportionate to any damage or loss incurred as a result of Defendant’s conduct, and are
11     unconstitutional under Article I, Section VII, of the California Constitution.
12                                           TWENTY-FIFTH DEFENSE
13                                              (Prompt Remedial Action)
14              25.    Defendants took prompt and appropriate corrective action in response to Plaintiffs’
15     complaints or stated concerns regarding the workplace, if in fact Plaintiffs made any such complaints,
16     thereby satisfying all legal duties and obligations Defendants had to Plaintiffs, if any at all.
17                                           TWENTY-SIXTH DEFENSE
18                                                (Ratification/Consent)
19              26.    Plaintiffs’ FAC, and each purported cause of action alleged therein, is barred in whole or
20     in part because any conduct by Defendant was ratified, consented to, or acquiesced in by Plaintiffs or
21     any individual they seek to represent.
22                                         TWENTY-SEVENTH DEFENSE
23                                               (Enforceable Contract)
24              27.    Plaintiffs’ FAC, and each purported cause of action alleged therein, is barred to the extent
25     that there is an enforceable contract with Plaintiffs or individuals they seek to represent that provides
26     that Defendants’ conduct is lawful.
27     III

28     III
                                                             7
             DEFENDANTS’ ANSWER TO FIRST AMENDED CLASS AND REPRESENTATIVE ACTION COMPLAINT
       43097623V.2
                                                                                                          Exhibit B
                                                                                                          Page 75
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 1                                            RESERVATION OF RIGHTS
 2               Defendants presently have insufficient knowledge or information upon which to form a belief
 3     whether there may be additional, as yet unstated, defenses. Defendants reserve the right to assert
 4     additional defenses in the event that discovery or investigation indicates that such defenses would be
 5     appropriate.
 6               To the extent that Defendants have not expressly admitted an allegation of the FAC or denied an
 7 :! allegation of the FAC based on a lack of knowledge and information, Defendants deny all further and

 8     remaining allegations of the FAC, and no response contained herein is intended to constitute a waiver of
 9     isuch denial.
10                                                           PRAYER
11               WHEREFORE, Defendants pray for judgment against Plaintiffs as follows:
12               1.     That Plaintiffs take nothing by way of their FAC;
13               2.     That Plaintiffs’ request for an order certifying a proposed class, collective, and
14     representative action be denied;
15               3.    That the action be dismissed, in its entirety, with prejudice;
16               4.     That judgment be entered in favor of Defendants and against Plaintiffs on all causes of

17     action;
18               5.     That Defendants be awarded reasonable attorneys’ fees according to proof;                   i;



19               6.     That Defendants be awarded the costs of suit incurred herein; and
20               7.     That Defendants be awarded such other and further relief as the Court may deem
                                                                                                                     i
21     appropriate.
22     DATED: December 28, 2017                                  SEYFARTH SHAW LLP
23

24
                                                                     Jqnn/R. Cmymnom
25                                                                   Jirrfmth D. Vasquez Santos                     I
                                                                     Attorneys for Defendants
26                                                                   TSYS BUSINESS SOLUTIONS, LLC, f/k/a
                                                                     TRANSFIRST, LLC; and TOTAL SYSTEM
27                                                                   SERVICES, INC.
28
                                                             8
           DEFENDANTS’ ANSWER TO FIRST AMENDED CLASS AND REPRESENTATIVE ACTION COMPLAINT
       43097623V.2
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 1                                              PROOF OF SERVICE
 2     STATE OF CALIFORNIA                               )
                                                         )   SS
 3     COUNTY OF LOS ANGELES                             )

 4            I am a resident of the State of California, over the age of eighteen years, and not a party to the
       within action. My business address is 333 S. Hope Street, Suite 3900, Los Angeles, California 90071.
 5     On December 28,2017,1 served the within document(s):
 6                             DEFENDANTS’ ANSWER TO FIRST AMENDED
                            CLASS AND REPRESENTATIVE ACTION COMPLAINT
 7
         I—- Ij^sudfejtocument from facsimile machines (213) 270-9601 on December 28, 201'’. I certify
 8       I—I that said transmission was completed and that all pages were received and that a repoit was
             generated by said facsimile machine which confirms said transmission and receipt. I, thereafter,
 9           mailed a copy to the interested party(ies) in this action by placing a true copy thereof enclosed in
             sealed envelope(s) addressed to the parties listed below.
10
         r—j by placing the document(s) listed above in a sealed envelope with postage thereon fully prepaid,
11       1*1 in the United States mail at Los Angeles, California, addressed as set forth below.

12       ■—- by personally delivering the document(s) listed above to the person(s) at the address(es) set forth
         I_I below.
13
         I—- by placing the document(s) listed above, together with an unsigned copy of this declaration, in a
14       I_I sealed envelope or package provided by an overnight delivery carrier with postage paid on
             account and deposited for collection with the overnight carrier at Los Angeles, California,
15           addressed as set forth below.
16       r-by transmitting the document(s) listed above, electronically, via the e-mail addresses set forth
         L4 below.
17
                                                                                                                    ■!




               Paul K. Haines                         Attorneys for Plaintiffs
18             Tuvia Korobkin
               Daniel J. Brown                                                                      i'
19
               HAINES LAW GROUP, APC
20             2274 East Maple Avenue
               El Segundo, CA 90245                                                                                 ;!
21
22             I am readily familiar with the firm's practice of collection and processing correspondence for
       mailing. Under that practice it would be deposited with the U.S. Postal Service on that same day with
23     postage thereon fully prepaid in the ordinary course of business. I am aware that on motion of the party
       served, service is presumed invalid if postal cancellation date or postage meter date is more than one day
24     after date of deposit for mailing in affidavit.
25            I declare under penalty of perjury under the laws of the State of California that the above is true
       and correct.
26
                Executed on December 28,2017, at Los Angeles, Califpinia.
27

28                                                                        Kassandra Cutler

                                                PROOF OF SERVICE
       43553902v.l                                                                                   Exhibit B
                                                                                                     Page 77
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                                                                               ELECTRONICALLY FILED
                                                                                Superior Court of California,
                                                                                    County of Orange
                                                                                0310911018 at 02:57:00 PM
 1   SEYFARTH SHAW LLP
     John R. Giovannone (SBN 239366)                                             Clerk of the Superior Court
                                                                                By Olga Lopez .Deputy Clerk
 2   jgiovannone@seyfarth.com
     333 S. Hope Street, Suite 3900
 3 j Los Angeles, California 90071
     Telephone:    (213)270-9600
 4   Facsimile:    (213) 270-9601
 5     SEYFARTH SHAW LLP
       Jinouth D. Vasquez Santos (SBN 299056)
 6     jvasquezsantos@seyfarth.com
       2029 Century Park East, Suite 3500
 7     Los Angeles, California 90067-3021
       Telephone:    (310)277-7200
 8     Facsimile:    (310)201-5219
 9     Attorneys for Defendants
       TSYS.BUSINESS SOLUTIONS, LLC, f/k/a
10     TRANSFIRST, LLC; and TOTAL SYSTEM SERVICES,
       INC.
11
12
                               SUPERIOR COURT OF THE STATE OF CALIFORNIA
13
                                                COUNTY OF ORANGE
14
15
       ADAM GARDINER and, ALDWIN MARQUIS,                     Case No. 30-2017-00942890-CU-OE-CXC
16     as individuals and on behalf of all others similarly
       situated,                                                   Hon. Randall J. Sherman, Dept. C24
17
                          Plaintiffs,                         DEFENDANTS’ ANSWER TO SECOND
18                                                            AMENDED CLASS, COLLECTIVE, AND
                v.                                            REPRESENTATIVE ACTION COMPLAINT
19
       TSYS BUSINESS SOLUTIONS, LLC, f/k/a                    Complaint Filed: September 8, 2017
20     TRANSFIRST, LLC, a Delaware limited liability
       company; TOTAL SYSTEM SERVICES, INC., a                FAC Filed:      November 27, 2017
21     Georgia corporation; and DOES 1 through 100,
                                                              SAC Filed:      March 6, 2018
22                        Defendants.
23

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          DEFENDANTS’ ANSWER TO SECOND AMENDED CLASS AND REPRESENTATIVE ACTION COMPLAINT
       45123929V.1
                                                                                                  Exhibit B
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  1                    Defendants TSYS Business Solutions, LLC f/k/a Transfirst, LLC, and Total System Services,
 2          Inc. (“Defendants”) hereby answers Plaintiffs Adam Gardiner, Aldwin Marquis, and Joseph Greco’s
 3          (collectively “Plaintiffs”) unverified Second Amended Complaint (“SAC”) as set forth below:
 4                                                       GENERAL DENIAL
 5                     Pursuant to the provisions of California Code of Civil Procedure § 431.30, Defendants deny,
                                                                                                                          5
 6          generally and specifically, each and every allegation, statement, matter and each purported cause of
 7          action contained in Plaintiffs’ SAC, and without limiting the generality of the foregoing, deny that
 8          Plaintiffs have been damaged in the manner or sums alleged, or in any way at all, by reason of any acts
 9          or omissions of Defendants. Defendants further deny, generally and specifically, that Plaintiffs have
10          suffered any loss of wages, overtime, penalties, compensation, benefits or restitution, or any other legal
11          or equitable relief within the jurisdiction of this Court.
12                                          AFFIRMATIVE AND OTHER DEFENSES
13                     In further answer to Plaintiffs’ SAC, Defendants alleges the following affirmative and/or          :

14 ! additional defenses. In asserting these defenses, Defendants do not assume the burden of proof as to
15          matters that, pursuant to law, Plaintiffs or any individual they seek to represent have the burden to prove,!
16                                                         FIRST DEFENSE
17 i                                                   (Failure to State a Claim)
18                     1.     Plaintiffs’ SAC, and each purported cause of action alleged therein, fails to state facts
19          sufficient to constitute any cause of action or claim for relief against Defendants.
20                                                       SECOND DEFENSE
21                                                      (Waiver and Estoppel)
       |i
22                    2.      Plaintiffs’ SAC, and each purported cause of action alleged therein, is barred to the extent!
23          Plaintiffs or any individual they seek to represent have waived his or right, or is barred by the doctrine of
24 J. estoppel, to assert the purported claims.

25                                                        THIRD DEFENSE
26                                                              (Laches)
27 i:                 3.      Plaintiffs’ SAC, and each purported cause of action alleged therein, is barred by the
28          doctrine of laches because Plaintiffs exercised inexcusable delay in commencing this action.
                                                                   2
               DEFENDANTS’ ANSWER TO SECOND AMENDED CLASS AND REPRESENTATIVE ACTION COMPLAINT
            45123929V. 1
                                                                                                             Exhibit B
                                                                                                             Page 79
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 1                                                FOURTH DEFENSE
 2                                                   (Unclean Hands)
 3                4.    Plaintiffs’ SAC, and each purported cause of action alleged therein, is precluded by the

 4     doctrine of unclean hands to the extent Plaintiffs or any individual they seek to represent failed to

 5     perform his or her contractual obligations or otherwise acted with unclean hands.

 6                                                  FIFTH DEFENSE
 7                                               (Statute of Limitations)
 8                5.   Plaintiffs’ SAC, and each purported cause of action alleged therein, is barred, in whole or

 9     in part, by the applicable statutes of limitations, including, but not limited to, the limitations contained in

10     California Labor Code sections 226, 226.7, 2698 et seq., California Code of Civil Procedure sections

11     312, 338(a), 339(1), 340, and 343, California Business and Professions Code section 17208, and 29 U.S.

12     Code § 255.

13                                                  SIXTH DEFENSE
14                                                     (De Minimis)
15                6.   Plaintiffs’ SAC, and each purported cause of action alleged therein, is barred to the extent

16     it seeks compensation for time which, even if in fact worked, was de minimis and therefore is not

17     recoverable.

18                                                SEVENTH DEFENSE
19                                                        (Offset)
20                7.   To the extent that Plaintiffs or any individual they seek to represent are entitled to

21     damages or penalties, either or both Defendants are entitled to an offset for any payments of wages or

22     other remuneration previously provided.

23                                                EIGHTH DEFENSE
24                     (No Knowing and Intentional Violation of California Labor Code § 226)
25               8.    Any alleged violation of California Labor Code section 226 was not knowing and

26     intentional and therefore Plaintiffs’ requested recovery is barred.

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          DEFENDANTS’ ANSWER TO SECOND AMENDED CLASS AND REPRESENTATIVE ACTION COMPLAINT
       45123929v, I
                                                                                                       Exhibit B
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       •i
 l                                                           NINTH DEFENSE
 2                                (No Injury as a Result of Violation of California Labor Code § 226)
 3                     9.        Plaintiffs have suffered no injury as a result of any alleged violation of Labor Code

 4          section 226 and therefore are barred from recovering penalties.

 5                                                          TENTH DEFENSE
 6                                                 {Res Judicata & Collateral Estoppel)
 7                     10.       Plaintiffs’ SAC, and each purported cause of action alleged therein, is barred by the

 8          doctrines of res judicata or collateral estoppel, to the extent that Plaintiffs or any individual they seek to

 9          represent have asserted such claims in any prior legal or administrative proceeding and did not prevail

10 i on such claim.
11                                                        ELEVENTH DEFENSE
12                                                   (Accord and Satisfaction/Release)
13 i                   11.       Plaintiffs’ SAC, and each purported cause of action alleged therein, is barred, in whole or

14          in part, pursuant to an accord and satisfaction, or is barred to the extent that Plaintiffs or any individual

15          they seek to represent have entered into or are otherwise bound by compromise, settlement, or release

16          agreements regarding those claims.

17                                                        TWELFTH DEFENSE
18                                                    (Failure to Mitigate Damages)
19*                    12.      Plaintiffs are not entitled to recover the amount of damages from Defendants as alleged in

20 I the SAC, or any damages, due to their continuous failure to make reasonable efforts to mitigate or

21          minimize the damages that they have allegedly incurred.

22 {                                                    THIRTEENTH DEFENSE
23                           (Failure to Comply with Employer Directions - California Labor Code § 2856)
24                     13.      Plaintiffs’ SAC, and each purported cause of action alleged therein, is barred by

25          California Labor Code section 2856 to the extent that Plaintiffs or any individual they seek to represent

26          failed to substantially comply with all the directions of Defendants, and such failure proximately caused

27 : the alleged losses.

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                                                                     4
               DEFENDANTS’ ANSWER TO SECOND AMENDED CLASS AND REPRESENTATIVE ACTION COMPLAINT
            45123929V. I
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                                                                                                              Page 81
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 1                                                 FOURTEENTH DEFENSE
 2                                                    (Rest Periods Provided)
 3                14.       Plaintiffs or any individual they seek to represent are not entitled to any premium pay for

 4     missed rest periods since Defendant, at all times relevant to the SAC, provided rest periods. To the

 5     extent that Plaintiffs or any individual they seek to represent voluntarily chose not to take rest periods,

 6     Defendants have not violated California law.

 7                                                   FIFTEENTH DEFENSE
 8                                               (Compensation for Rest Periods)
 9                15.       To the extent that Plaintiffs or any individual they seek to represent were paid additional

10     compensation for missed rest periods, their missed rest period claim is barred.

11                                                   SIXTEENTH DEFENSE
12                                                 (No Private Right of Action)
13                16.       Plaintiffs’ SAC is barred to the extent it seeks to recover civil penalties for which no

14     private right of action exists.

15                                                 SEVENTEENTH DEFENSE
16                                              (Lack of Knowledge/Willfulness)
17                17.       To the extent that any unlawful conduct occurred, which Defendants deny, Plaintiffs’

18     SAC, and each purported cause of action alleged therein, is barred to the extent Defendants was not
                        f

19     aware of unlawful conduct, and Plaintiffs’ claims or those of individuals they seek to represent are

20     barred or, alternatively, their relief is limited, as Defendants’ alleged conduct was certainly not willful.

21                                                 EIGHTEENTH DEFENSE
22                                                           (Overtime)
23                18.       To the extent that Plaintiffs or any individual they seek to represent were paid overtime

24     compensation at the legally required rate for hours worked in excess of 8 hours in a day or 40 hours in a

25     week, such overtime claims are barred.

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          DEFENDANTS' ANSWER TO SECOND AMENDED CLASS AND REPRESENTATIVE ACTION COMPLAINT
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 1                                                      NINETEENTH DEFENSE
 2                                              (Good Faith Dispute - Labor Code § 203)
 3                       19.    Plaintiffs or any individual they seek to represent are not entitled to California Labor

 4            Code section 203 penalties because a good faith dispute existed as to the monies allegedly owed at the

 5            time of the termination, such that Defendants cannot be held to have willfully failed to comply with the

 6            requirements of the applicable California Labor Code sections.

 7                                                       TWENTIETH DEFENSE
 8                               (No California Business & Professions Code § 17200 et seq. Standing)
 9                       20.    Plaintiffs lack standing as former employees to seek injunctive relief, civil penalties, or

10            damages under relevant portions of the California Labor Code and the California Business and

11            Professions Code section 17200 et seq. and lack standing because, inter alia, they have not suffered any

12            injury in fact or lost money or property as a result of any unfair competition, or have an adequate

13            remedy at law.

14                                                     TWENTY-FIRST DEFENSE
15                               (No Recovery Under California Business & Professions Code § 17200)
16                       21.    Plaintiffs improperly seek through their cause of action under California Business &

17            Professions Code section 17200 to recover monies that are not recoverable under that statute, including,
          i

18            but not limited to their claims based on California Labor Code section 203.

19                                                   TWENTY-SECOND DEFENSE
20                                              (Exhaustion of Administrative Remedies)
21                      22.    * Plaintiffs’ SAC, and each purported cause of action alleged therein, is barred to the extent

22            Plaintiffs failed to exhaust their administrative remedies or other prerequisites, or failed to timely
                                                                                                                              I
23            exhaust those remedies or prerequisites as required by law, including but not limited to the requirements i

24            set forth in California Labor Code section 2699.3.

25                                                    TWENTY-THIRD DEFENSE
26                                                       (PAGA Unconstitutional)
27                      23.     The California Labor Code Private Attorney General Act of 2004 (“PAGA”), California

28            Labor Code §§ 2698, et seq., both on its face and as Plaintiffs seek to apply it here, violates the
                                                                     6
                 DEFENDANTS’ ANSWER TO SECOND AMENDED CLASS AND REPRESENTATIVE ACTION COMPLAINT
              45123929v. 1
      j                                                                                                        Exhibit B
                                                                                                               Page 83
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 1      California and United States Constitutions. It constitutes an illegal delegation of the State’s executive or
 2     prosecutorial power to individual litigants without oversight by the State of California or any executive
 3      or prosecutorial agency thereof. PAGA is also unconstitutional on the basis that it violates the separation
 4      of powers doctrine and Defendant’s right to due process.
 5                                           TWENTY-FOURTH DEFENSE
 6                                              (Unconstitutional Penalty)
 7               24.   Plaintiffs or any individual they seek to represent are not entitled to any penalty under the
 8      California Labor Code to the extent that the penalty provisions of the applicable California Labor Code
 9      sections invoked establish penalties that are unjust, arbitrary, oppressive, confiscatory, or are
10     disproportionate to any damage or loss incurred as a result of Defendant’s conduct, and are
11     unconstitutional under Article I, Section VII, of the California Constitution.
12                                            TWENTY-FIFTH DEFENSE
13                                              (Prompt Remedial Action)
14               25.   Defendants took prompt and appropriate corrective action in response to Plaintiffs’
15     complaints or stated concerns regarding the workplace, if in fact Plaintiffs made any such complaints,
                                                                                                                       •I

16     thereby satisfying all legal duties and obligations Defendants had to Plaintiffs, if any at all.
17                                            TWENTY-SIXTH DEFENSE
18                                                (Ratification/Consent)
19               26.   Plaintiffs’ SAC, and each purported cause of action alleged therein, is barred in whole or
20     in part because any conduct by Defendant was ratified, consented to, or acquiesced in by Plaintiffs or
21     any individual they seek to represent.
22 !                                        TWENTY-SEVENTH DEFENSE
23                                                (Enforceable Contract)
24               27.   Plaintiffs’ SAC, and each purported cause of action alleged therein, is barred to the extent
25     that there is an enforceable contract with Plaintiffs or individuals they seek to represent that provides
26     that Defendants’ conduct is lawful.
27     III

28     III
                                                             1
             DEFENDANTS’ ANSWER TO SECOND AMENDED CLASS AND REPRESENTATIVE ACTION COMPLAINT
       45123929v.l
                                                                                                          Exhibit B
                                                                                                          Page 84
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 1 :                                           RESERVATION OF RIGHTS
 2                Defendants presently have insufficient knowledge or information upon which to form a belief
 3     whether there may be additional, as yet unstated, defenses. Defendants reserve the right to assert
-4     additional defenses in the event that discovery or investigation indicates that such defenses would be
 5     appropriate.
 6                To the extent that Defendants have not expressly admitted an allegation of the SAC or denied an
 7     allegation of the SAC based on a lack of knowledge and information, Defendants deny all further and
 8     remaining allegations of the SAC, and no response contained herein is intended to constitute a waiver of;
 9     such denial.
10                                                            PRAYER
11                WHEREFORE, Defendants pray for judgment against Plaintiffs as follows:
12 j              1.     That Plaintiffs take nothing by way of their SAC;
13               2.      That Plaintiffs’ request for an order certifying a proposed class, collective, and
14     representative action be denied;
15               3.      That the action be dismissed, in its entirety, with prejudice;
16               4.      That judgment be entered in favor of Defendants and against Plaintiffs on all causes of
17     action;
18               5.      That Defendants be awarded reasonable attorneys’ fees according to proof;
19               6.      That Defendants be awarded the costs of suit incurred herein; and
20               7.      That Defendants be awarded such other and further relief as the Court may deem
21     appropriate.
22     DATED: March 9, 2018                                       SEYFARTH SHAW LLP
23

24                                                                By:./' ri w XJ--V
                                                                     JaMR. uiovarmone
25                                                                   Jipouth D. Vasquez Santos
                                                                     Attorneys for Defendants
26                                                                   TSYS BUSINESS SOLUTIONS, LLC, f/k/a
                                                                     TRANSFIRST, LLC; and TOTAL SYSTEM
27                                                                   SERVICES, INC.
28
                                                              8
          DEFENDANTS’ ANSWER TO SECOND AMENDED CLASS AND REPRESENTATIVE ACTION COMPLAINT
       45123929V, 1
                                                                                                        Exhibit B
                                                                                                        Page 85
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 1                                                PROOF OF SERVICE

 2     STATE OF CALIFORNIA                                a
                                                          )   SS
 3     COUNTY OF LOS ANGELES                              )

 4            I am a resident of the State of California, over the age of eighteen years, and not a party to the
       within action. My business address is 333 S. Hope Street, Suite 3900, Los Angeles, California 90071.
 5     On March 9,2018,1 served the within documents):
 6                         DEFENDANTS’ ANSWER TO SECOND AMENDED CLASS,
                         COLLECTIVE, AND REPRESENTATIVE ACTION COMPLAINT
 7
            I Sent such document from facsimile machines (213) 270-9601 on December 28,2017. I certify
 8       EH that said transmission was-eoiftptoiMt
                                       compietea anu tot
                                                       mat an
                                                            all pageswerereeeivea
                                                                pages were received ana
                                                                                    and mat
                                                                                        that a
                                                                                             a report
                                                                                               report was
            generated by said facsimile; Matiiae
                                         machine which confirms said temismissiqn and receipt. " I, thereafter,
                                                                                                    t
 9          mailed a copy ftr                         *n ^is action by placing a true copy thereof enclosed in
            sealed envelope(s) addressed to the parties listed below.
10
         I—| by placing the document(s) listed above in a sealed envelope with postage thereon fully prepaid,
11       I_I in the United States mail at Los Angeles, California, addressed as set forth below.

12
13
         □      by personally delivering the documents) listed above to the person(s) at the address(es) set forth
                below.
         l_| by placing the document(s) listed above, together with an unsigned copy of this declaration, in a
14       I_I seafat envelope or package provided by an overnight delivery carrier with postage paid on
             account and deposited for collection with the overnight carrier at Los Angeles, California,
15           addressed as set forth below.
16              by transmitting the document(s) listed above, electronically, via One Legal.
17
               Paul K. Haines                             Attorneys for Plaintiffs
18             Tuvia Korobkin
               Daniel J. Brown
19
               HAINES LAW GROUP, APC
20             222 North Sepulveda Blvd, Suite 1550
               El Segundo, CA 90245
21
22             I am readily familiar with the firm's practice of collection and processing correspondence for
       mailing. Under that practice it would be deposited with the U.S. Postal Service on that same day with
23     postage thereon fully prepaid in the ordinary course of business. I am aware that on motion of the party
       served, service is presumed invalid if postal cancellation date or postage meter date is more than one day
24     after date of deposit for mailing in affidavit.
25            I declare under penalty of perjury under the laws of the State of California that the above is true
       and correct.
26
                 Executed on March 9,2018, at Los Angeles, California.
                                                                   ia.,    v,
27
28                                                                          Kassandra Cutler

                                                  PROOF OF SERVICE
       43553902V. 1                                                                                   Exhibit B
                                                                                                      Page 86
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                                                                                  ELECTRONICALLY FILED
                                                                                   Superiar Court of California,
 1     SEYFARTH SHAW LLP                                                               Gouritf of Orange
       John R. Giovannone (SBN 239366)                                             01H2/2018 at D3:QQ:DI PM
 2     jgiovannone@seyfarth.com                                                    Clerk of the Superior Court
       333 S. Hope Street, Suite 3900                                           If Georgina Ramirez,Deputy Clerk
 3     Los Angeles, California 90071
       Telephone:    (213)270-9600
 4     Facsimile:    (213) 270-9601
 5     SEYFARTH SHAW LLP
       Jinouth D. Vasquez Santos (SBN 299056)
 6     jvasquezsantos@seyfarth.com
       2029 Century Park East, Suite 3500
 7     Los Angeles, California 90067-3021
       Telephone:    (310) 277-7200
 8     Facsimile:    (310)201-5219
 9     Attorneys for Defendants
       TSYS BUSINESS SOLUTIONS, LLC, Ek/a
10     TRANSFIRST, LLC; and TOTAL SYSTEM SERVICES,
       INC.
11
12
                               SUPERIOR COURT OF THE STATE OF CALIFORNIA
13
                                                COUNTY OF ORANGE
14
15
       ADAM GARDINER and, ALDWIN MARQUIS,                     Case No. 30-2017-00942890-CU-OE-CXC
16     as individuals and on behalf of all others similarly
       situated,                                                   Hon. Randall J. Sherman, Dept. C24
17
                          Plaintiffs,                         STIPULATION AND ORDER TO
18                                                            CONTINUE CASE MANAGEMENT
                v.                                            CONFERENCE TO A DATE FOLLOWING
19                                                            SCHEDULED MEDIATION
       TSYS BUSINESS SOLUTIONS, LLC, Ek/a
20     TRANSFIRST, LLC, a Delaware limited liability          Date:    January 19, 2018
       company; TOTAL SYSTEM SERVICES, INC., a                Time:    9:30 a.m.
21     Georgia corporation; and DOES 1 through 100,           Dept.:   CX-105
22                        Defendants.                         Complaint Filed: September 8, 2017
23
                                                              FAC Filed:      November 27, 2017
24

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26
27

28


                     STIPULATION AND ORDER TO CONTINUE CASE MANAGEMENT CONFERENCE
       43620418V.2
                                                                                                    Exhibit B
                                                                                                    Page 87
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 1               Plaintiffs Adam Gardiner and Aldwin Marquis (“Plaintiffs”) and Defendants TSYS Business
 2      Solutions, LLC frk/a Transfirst, LLC and Total System Services, Inc. (“Defendants”) (collectively, “the
 3     Parties”), by and through their undersigned counsel, hereby stipulate as follows:
 4

 5               1.    WHEREAS, a case management conference was recently scheduled in this matter for
 6     January 19, 2018 at 9:30 a.m. in Department CX-105 of the above reference court;
 7

 8               2.    WHEREAS, the Parties have been engaged in informal discovery and information
 9     exchange for over three months;
10
11               3.    WHEREAS, the Parties have scheduled a full-day mediation with Jeffrey Ross, on
12     February 12, 2018, and are optimistic as to the prospects for resolution;
13
14               4.    WHEREAS, the Parties agree that judicial economy would be promoted by continuing
15     the case management conference until March 20, 2018, or a date thereafter that is convenient for the
16     Court; and
17
18               5.    WHEREAS, if a settlement is reached, the parties will file a notice of settlement, so that
19     the Court may vacate the case management conference.
20     //
21     //

22     //

23     //

24     //

25     //

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                                                           2
                      STIPULATION AND ORDER TO CONTINUE CASE MANAGEMENT CONFERENCE
       43620418V.2
                                                                                                     Exhibit B
                                                                                                     Page 88
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 1

 2
                 THEREFORE, THE PARTIES HERETO STIPULATE AND RESPECTFULLY
 3
       REQUEST THAT THE COURT ORDER that the case management conference scheduled for
 4
       January 19, 2018, be continued to March 20, 2018, or the soonest available date thereafter.
 5

 6
       DATED: January 9, 2018                            SEYFARTH SHAW LLP
 7
                                                                                     ;t

 8

 9                                                            John R. Giovannone
                                                              Jinouth D. Vasquez Santos
10                                                            Attorneys for Defendants
                                                              TSYS BUSINESS SOLUTIONS, LLC, f/k/a
11                                                            TRANSFIRST, LLC; and TOTAL SYSTEM
                                                              SERVICES, INC.
12
       DATED: January 9,     2018                       HAINES LAW GROUP
13

14
                                                        By:
15                                                            Paul K. Haines
                                                              Tuvia Korobkin
                                                              Daniel J. Brown
16
                                                              Attorneys for Plaintiffs
17                                                            ADAM GARDINER AND ALDWIN MARQUIS
18

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                     STIPULATION AND ORDER TO CONTINUE CASE MANAGEMENT CONFERENCE
       43620418V.2
                                                                                                     Exhibit B
                                                                                                     Page 89
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 1
 2
                                                     ORDER
 3
                  PURSUANT TO THE STIPULATION AND FINDING GOOD CAUSE, IT IS SO
 4
        ORDERED that the Case Management Conference currently set for January 19, 2018 shall be
 5
        rescheduled for March 23, 2018 at 9:00 a.m. in Department CX-105 ofthe above referenced court.
 6
                  IT IS SO ORDERED.
 7

 8
        Date Judge Signed: January 12, 2018
 9
10                                                          Hon. Randall J. Sherman
                                                            Judge of the Superior Court
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                                                        4
                      STIPULATION AND ORDER TO CONTINUE CASE MANAGEMENT CONFERENCE
        43620418v,2
                                                                                               Exhibit B
                                                                                               Page 90
